Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 1 of
                                     400




                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA

                                            MIAMI DIVISION

                                    CASE NO.: 1:18-CV-21365-KMW

   ST. LOUIS CONDOMINIUM
   ASSOCIATION INC.

           Plaintiff,
   vs.

   ROCKHILL INSURANCE COMPANY,

         Defendant.
   __________________________________________/

                PLAINTIFF’S EXPERT WITNESS DISCLOSURE PURSUANT TO
                     FLORIDA RULES OF CIVIL PROCEDURE 26(a)(2)

           Plaintiff, St. Louis Condominium Association, Inc. (“Plaintiff”), pursuant to Federal Rule

   of Civil Procedure 26, Local Rule 26.1 and the Scheduling Order, hereby discloses the following

   persons as experts expected to testify on its behalf at trial, as follows:

           1.      William J. Pyznar, P.E.
                   The Falcon Group Engineering, Architecture & Energy Consultants
                   7430 SW 48th Street
                   Miami, Florida 33155

           The Plaintiff expects to call Mr. Pyznar as expert witness at trial to present evidence

   under Federal Rule of Evidence 702, 703, and 705. Mr. Pyznar’s report, curriculum viate,

   compensation, list all publications he has authored in the ten (10) years and all litigation in which

   he offered testimony in the last four (4) years are attached hereto as Composite Exhibit “A.”

           2.      Paul E. Beers
                   GCI Consultants, LLC
                   2460 Metrocentre Boulevard
                   West Palm Beach, Florida 33407



                                                      1
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 2 of
                                     400



          The Plaintiff expects to call Mr. Beers as expert witness at trial to present evidence under

   Federal Rule of Evidence 702, 703, and 705. Mr. Beers’ report, curriculum viate, compensation,

   list all publications he has authored in the ten (10) years and all litigation in which he offered

   testimony in the last four (4) years are attached hereto as Composite Exhibit “B.”

          3.      Hector Torres
                  DLT Global Development & Building Advisors
                  3470 North Miami Avenue
                  Upper Suite
                  Miami, Florida 33127

          The Plaintiff expects to call Mr. Torres as expert witness at trial to present evidence

   under Federal Rule of Evidence 702, 703, and 705. Mr. Torres’ report, curriculum viate,

   compensation, list all publications he has authored in the ten (10) years and all litigation in which

   he offered testimony in the last four (4) years are attached hereto as Composite Exhibit “C.”

          4.      Mark J. Mintz, Esq.
                  Mintz Truppman
                  1700 Sans Souci Boulevard
                  North Miami, Florida 33181

          The Plaintiff expects to call Mr. Mintz as expert witness at trial to present evidence under

   Federal Rule of Evidence 702, 703, and 705. We anticipate calling Mr. Mintz as an expert in

   industry standards for pre-litigation and litigation conduct. His curriculum viate is attached

   hereto as Exhibit “D.”

          As requested in our prior email, the Plaintiff requests an extension until Wednesday,

   October 3, 2018 for Mr. Mintz to finalize his report.

          5.      William S. Coffman, Jr.
                  740 S.E. Greenville Blvd.
                  Suite 400-176
                  Greenville, NC 27858




                                                    2
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 3 of
                                     400



          The Plaintiff expects to call Mr. Coffman as expert witness at trial to present evidence

   under Federal Rule of Evidence 702, 703, and 705. We anticipate calling Mr. Coffman as an

   expert in industry standards for adjusters and insurance companies. His curriculum viate is

   attached hereto as Exhibit “E.”

          As requested in our prior email, the Plaintiff requests an extension until Wednesday,

   October 3, 2018 for Mr. Coffman to finalize his report.


                                     CERTIFICATE OF SERVICE


          I HEREBY CERTIFY that a true and correct copy of the foregoing was served by

   electronic notification generated by CM/ECF system on 28th day of September, 2018 to: Lauren

   D. Levy, Esq., Levy Law Group, 3399 Ponce De Leon Blvd, Suite 202, Coral Gables, Florida

   33134; lauren@levylawgroup.com; Lourdes@levylawgroup.com and Jocelyn@levylawgroup.com.



                                                                 Respectfully submitted,
                                                                 Siegfried, Rivera, Hyman, Lerner,
                                                                 De La Torre, Mars, & Sobel, P.A
                                                                 Attorneys for Plaintiff
                                                                 201 Alhambra Circle
                                                                 Eleventh Floor
                                                                 Coral Gables, Florida 33134
                                                                 Telephone: (305)442-3334
                                                                 Facsimile: (305) 443-3292
                                                                 sodess@srhl-law.com
                                                                 dbrady@srhl-law.com

                                                             By: /s/ Susan C. Odess
                                                                 Susan C. Odess
                                                                 Florida Bar No. 99077




                                                   3
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 4 of
                                     400
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 5 of
                                     400
                                                                          
                                                                          
             (9$/8$7,212)'$0$*(6)2//2:,1*+855,&$1(,50$
      

      
      
      &217(176                                                                          3$*(
      
        ([HFXWLYH6XPPDU\                                                               
       'RFXPHQWV5HYLHZHG                                                              
        %XLOGLQJ'HVFULSWLRQ                                                          
        +XUULFDQH,UPD                                                                  
        'DPDJH6XUYH\                                                                   
             5RRI'DPDJH                                                              
             :LQGRZVDQG'RRUV'DPDJH                                                   
             &RPPRQ$UHDVDQG([WHULRUV'DPDJH                                            
             ,QWHULRU'DPDJH                                                           
           (IIHFWVRI+XUULFDQH,UPDRQWKH%XLOGLQJ                                     
        &RQFOXVLRQV                                                                    
      




                                                                                                            
      

                                                 St. Louis - Plaintiff's Expert - The Falcon Group's File - 000002
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 6 of
                                                      400
                                                        
                                                        
                (9$/8$7,212)'$0$*(6)2//2:,1*+855,&$1(,50$
   
        (;(&87,9(6800$5<
   
   7KLV UHSRUW FRQWDLQV WKH UHVXOWV RI DQ HQJLQHHULQJ LQYHVWLJDWLRQ WR GHWHUPLQH WKH HIIHFWV RI
   +XUULFDQH,UPDRQWKH6W/RXLV&RQGRPLQLXP$VVRFLDWLRQORFDWHGDW&ODXJKWRQ,VODQG'ULYH
   0LDPL)ORULGD7KHSXUSRVHRIWKHHYDOXDWLRQZDVWRGHWHUPLQHWKHFDXVHDQGH[WHQWRIGDPDJH
   WR VWUXFWXUDO DQG QRQVWUXFWXUDO FRPSRQHQWV RI WKH EXLOGLQJ 2EVHUYDWLRQV DQG HYDOXDWLRQ RI
   H[LVWLQJFRQGLWLRQVDVVHVVPHQWRI+XUULFDQH,UPDZLQGVSHHGVSUR[LPDWHWRWKHVLWHVKRZWKDWWKH
   EXLOGLQJVXVWDLQHGGDPDJHIURP+XUULFDQH,UPDZKLFKVWUXFN)ORULGDRQ6HSWHPEHU
   
   7KHLQYHVWLJDWLRQFRQVLVWHGRIDYLVXDOHYDOXDWLRQRIWKHURRIH[WHULRUVIURPDFFHVVLEOHORFDWLRQV
   H[WHULRUGURQHVXUYH\DQGLQVSHFWLRQRIVHOHFWHGXQLWLQWHULRUVDQGFRPPRQDUHDVRIWKH6W/RXLV
   &RQGRPLQLXP$VVRFLDWLRQLQRUGHUWRLGHQWLI\GDPDJHDWWULEXWDEOHWR+XUULFDQH,UPD'DPDJHWR
   GLIIHUHQWFRPSRQHQWVRIWKHEXLOGLQJGLUHFWO\DWWULEXWDEOHWRRUH[DFHUEDWHGE\+XUULFDQH,UPD V
   ZLQGSUHVVXUHVLVVXPPDUL]HGLQWKHIROORZLQJSDUDJUDSKV
   
   )DOFRQIRUPHGWKHRSLQLRQVDQGFRQFOXVLRQVVHWIRUWKLQWKLVUHSRUWDIWHULQWHUYLHZLQJEXLOGLQJVWDII
   DQG UHVLGHQWV UHYLHZLQJ WKH SURMHFW GRFXPHQWV OLVWHG EHORZ DQG SHUIRUPLQJ D VLWH YLVLW RQ
   6HSWHPEHUDQGVXEVHTXHQWGURQHHYDOXDWLRQRQ2FWREHU
   
   :LQGRZ'RRU ([WHULRU&ODGGLQJ
   
   :LQGEXIIHWLQJDQGWKHLQWHQVHZLQGSUHVVXUHVWRZKLFKWKHEXLOGLQJDQGEXLOGLQJFRPSRQHQWV
   ZHUHH[SRVHGGXULQJ,UPDFDXVHGWKHEXLOGLQJVWUXFWXUHDQGFRPSRQHQWVWRPRYHDQGIOH[UHVXOWLQJ
   LQGDPDJHVWRWKHEXLOGLQJFRPSRQHQWV0RYHPHQWRIWKHEXLOGLQJFRPSRQHQWVFDXVHGE\,UPD¶V
   VWURQJZLQGIRUFHVLQFRQMXQFWLRQZLWKEXLOGLQJPRYHPHQWGXULQJWKHVWRUPDVZHOODVRSHQLQJV
   LQ WKH EXLOGLQJ HQYHORSH OHDGLQJ WR ZDWHU LQILOWUDWLRQ DQG DVVRFLDWHG LQWHULRU GDPDJHV  7KH
   FRPSURPLVHGFODGGLQJZLQGRZVDQGGRRUVDOORZHGZDWHUWRSHQHWUDWHLQWRWKHDSDUWPHQWXQLWV
   DQG FDXVH GDPDJH WR WKH ZLQGRZ DQG GRRU MDPEV KHDGHUV DQG VLOOV FHLOLQJV ZDOOV IORRUV
   FRQGHQVDWLRQRQWKHZLQGRZVVWDLQLQJRIWKHDOXPLQXPIUDPHVDQGVWUHDNVRIHYDSRUDWHGZDWHU
   ULYXOHWVRQWKHJODVVSDQHVLQDGGLWLRQWRIORRGLQJRIDQGGDPDJHVRIFRPPRQDUHDILQLVKHVDQG
   PHFKDQLFDOHTXLSPHQWHOHFWULFHTXLSPHQWDQGFRQWUROV
   %XIIHWLQJRIWKHZLQGRZVDQGGRRUVFDXVHGE\,UPD VVWURQJZLQGIRUFHVGLVSODFHGWKHZLQGRZ
   DQGGRRUJDVNHWV,UPD VZLQGSUHVVXUHVLQFRQMXQFWLRQZLWKEXLOGLQJPRYHPHQWGXULQJWKHVWRUP
   FDXVHGVHSDUDWLRQVDQGIDLOXUHRIWKHDVVHPEOLHV$SSUR[LPDWHO\RIWKHXQLWVUHSRUWHGLVVXHV
   IURP,UPDDQGGDPDJHVZHUHFDXVHGWRWKHFRPPRQDUHDVDVZHOO0DQDJHPHQWUHSRUWVOHDNLQJ
   WKURXJKRXWWKHEXLOGLQJGXULQJUHJXODUVWRUPHYHQWVDIWHU,UPDZKHUHOHDNVGLGQRWH[LVWEHIRUH
   
   ,WLVRXURSLQLRQWKDWWKHGDPDJHWRWKHEXLOGLQJHQYHORSHZLQGRZVDQGGRRUVDVLQGLFDWHGLQWKLV
   UHSRUWZDVGLUHFWO\FDXVHGRUH[DFHUEDWHGE\+XUULFDQH,UPD VZLQGV8QUHSDLUHGGDPDJHWRWKH
   EXLOGLQJFRPSRQHQWVZRXOGPDNHWKHEXLOGLQJPRUHVXVFHSWLEOHWRIXUWKHUGDPDJHIURPIXWXUHUDLQ
   DQGZLQGVWRUPHYHQWV,WLVDUHFRJQL]HGIDFWWKDWGDPDJHGRUZHDNHQHGFODGGLQJFRPSRQHQWV
   ZLQGRZVDQGGRRUVDUHPRUHVXVFHSWLEOHWRIXUWKHUGDPDJHGXULQJORZHULQWHQVLW\ZLQGVWRUPV
   WKHUHE\DOORZLQJPRUHZLQGWRHQWHULQWRDEXLOGLQJW\SLFDOO\UHVXOWLQJLQKLJKHUZLQGORDGV
   



                                                                              
    <?&OLHQWV?)DOFRQ??'RFXPHQWV?56W /RXLV&RQGRPLQLXP$VVRFLDWLRQ+XUULFDQH,UPD'UDIW5HSRUW 'RF[[


                                                                                   St. Louis - Plaintiff's Expert - The Falcon Group's File - 000003
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 7 of
                                                         400
                                                           
                                                           
                (9$/8$7,212)'$0$*(6)2//2:,1*+855,&$1(,50$
   
   $QLQGXVWU\SURIHVVLRQDOVKRXOGEHUHWDLQHGWRGHYHORSWKHVFRSHPHWKRGDQGPHDQVRIUHSDLUVWR
   UHFWLI\ WKH GDPDJH WR DOO WKH H[LVWLQJ ZLQGRZV  GRRUV ,W LV WR EH QRWHG WKDW HQJLQHHULQJ
   UHFRPPHQGDWLRQVDQGDGGLWLRQDOZRUNPD\EHQHFHVVDU\IRUWKHH[HFXWLRQRIWKHUHSDLUVWRWKH
   EXLOGLQJV
   7KHLQIRUPDWLRQSUHVHQWHGLQWKLVUHSRUWUHSUHVHQWVWKHUHVXOWVRIRXULQYHVWLJDWLRQWRGDWH6KRXOG
   DGGLWLRQDOLQIRUPDWLRQEHFRPHDYDLODEOHZHUHTXHVWWKDWLWEHEURXJKWWRRXUDWWHQWLRQDVVRRQDV
   SRVVLEOHVRWKDWZHPD\IXOO\DGGUHVVLW
   
   7KH SURIHVVLRQDO RSLQLRQV SUHVHQWHG LQWKLVUHSRUWKDYHEHHQGHYHORSHGLQD PDQQHUFRQVLVWHQW
   ZLWK WKDW OHYHO RI FDUH DQG VNLOO RUGLQDULO\ H[HUFLVHG E\ UHSXWDEOH PHPEHUV RI WKH SURIHVVLRQ
   FXUUHQWO\ SUDFWLFLQJ LQ WKH VDPH ORFDOLW\ XQGHU VLPLODU FRQGLWLRQV 1R RWKHU ZDUUDQWLHV DUH
   H[SUHVVHGRULPSOLHG
   
   
    '2&80(1765(9,(:('

    ,QWKHSUHSDUDWLRQRIWKLVUHSRUWWKHIROORZLQJGRFXPHQWVZHUHUHYLHZHG
    'RFXPHQW7\SH                   7RSLF                                     )URP                               'DWH
    3ODQV                          $UFKLWHFWXUDO                               7KRPDV &DO]DGLOOD                 $           
                                                                              0HWURSROLWDQ$UFKLWHFWV
    
    6SUHDG6KHHW                   8QLW'DPDJHIURP,UPD                        $VVRFLDWLRQ0DQDJHPHQW              1$
    
    3URSRVDOVDQG,QYRLFHV            ,UPDGDPDJHUHSDLUV                       9DULRXV9HQGRUV                     3RVW,UPD
    
    
     %8,/',1*'(6&5,37,21

    7KH6W/RXLV&RQGRPLQLXP$VVRFLDWLRQFRQVLVWVRIDWKLUW\RQH  VWRU\EXLOGLQJFRQWDLQLQJ
    XQLWVIODWURRIV\VWHPVPXOWLVWRU\SDUNLQJJDUDJHSDUNLQJGHFNDQGDQLQJURXQGSRRODQG
    SRROGHFNWKDWZDVFRQVWUXFWHGLQ

    $VVKRZQLQ)LJXUHWKH6W/RXLV&RQGRPLQLXP%XLOGLQJKDVDURXJKO\UHFWDQJXODUIORRUSODQ
    ZLWKEDOFRQ\SURMHFWLRQVDORQJWKHHDVWIDoDGHDQGKDVDSSUR[LPDWHGLPHQVLRQVRIIHHWE\
    IHHW 7KH EXLOGLQJ IDFHV WKH %LVFD\QH %D\ DORQJ WKH HDVW IDoDGH DQG LV DFFHVVHG E\ &ODXJKWRQ
    ,VODQG'ULYHRQWKHVRXWKIDoDGH$ORZVORSHWKHUPRSODVWLFVLQJOHSO\URRIV\VWHPLVSUHVHQWRQ
    WKHPDLQURRIDUHDDQGDEDUUHOYDXOWHGVWDQGLQJVHDPURRIV\VWHPLVSUHVHQWRQWKHURRIRYHUWKH
    PHFKDQLFDOSHQWKRXVHORFDWHGDWWKHURRIOHYHO$ODUJHFRROLQJWRZHUHQFORVXUHLVSUHVHQWDWWKH
    FHQWHURIWKHURRI
                                                 




                                                                              
    <?&OLHQWV?)DOFRQ??'RFXPHQWV?56W /RXLV&RQGRPLQLXP$VVRFLDWLRQ+XUULFDQH,UPD'UDIW5HSRUW 'RF[[


                                                                                   St. Louis - Plaintiff's Expert - The Falcon Group's File - 000004
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 8 of
                                     400
                                       
                                       
             (9$/8$7,212)'$0$*(6)2//2:,1*+855,&$1(,50$
   
   




                                                                                                                                   
                                                    )LJXUH7\SLFDOEXLOGLQJIORRUSODQ

   )LJXUHSURYLGHVIXUWKHULQVLJKWUHJDUGLQJWKHOD\RXWRIWKHDSDUWPHQWXQLWVRQW\SLFDOIORRU
        (DFKXQLWKDVDWOHDVWRQHEDOFRQ\

   3KRWRJUDSKVVKRZVJHQHUDOH[WHULRUYLHZRIWKHSURSHUW\




                                                                             
   <?&OLHQWV?)DOFRQ??'RFXPHQWV?56W /RXLV&RQGRPLQLXP$VVRFLDWLRQ+XUULFDQH,UPD'UDIW5HSRUW 'RF[[


                                                                                  St. Louis - Plaintiff's Expert - The Falcon Group's File - 000005
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 9 of
                                     400
                                       
                                       
             (9$/8$7,212)'$0$*(6)2//2:,1*+855,&$1(,50$
   




                                                                                     
                                          3KRWR9LHZRIVXEMHFWVLWHIURPWKH(DVW

   7KHVWUXFWXUDOV\VWHPRIWKHEXLOGLQJFRQVLVWVRIUHLQIRUFHGFRQFUHWHFROXPQVDQGFRUHZDOOVZKLFK
   VXSSRUWUHLQIRUFHGFRQFUHWHIORRUVODEV7KHH[WHULRUZDOOVDUHFRQVWUXFWHGIURPSUHFDVWFRQFUHWH
   SDQHOV FODG ZLWK D GLUHFW DSSOLHG ILQLVK V\VWHP RU DOXPLQXP IUDPHG JODVV ZLQGRZ XQLWV 7KH
   EDOFRQLHVDUHHQFORVHGZLWKFRQFUHWHDQGPDVRQU\ZDOOVZLWKDOXPLQXPUDLOLQJVRYHUWRSDQGDUH
   DFFHVVHGWKURXJKDOXPLQXPIUDPHGJODVVVOLGLQJGRRUV7KHLQWHULRUSDUWLWLRQVDUHGU\ZDOOVRQ
   PHWDOVWXGV7KHFROXPQVFRUHZDOOVDQGIORRUVODEVUHVLVWWKHODWHUDOZLQGORDGVLPSRVHGRQWKH
   EXLOGLQJ DQG WUDQVIHU WKH ORDGLQJ WR WKH IRXQGDWLRQ 7KH EXLOGLQJ V ORZ VORSH URRI VHFWLRQV DUH
   FRYHUHGZLWKDVLQJOHSO\WKHUPRSODVWLFPHPEUDQH

    +855,&$1(,50$

   $FFRUGLQJ WR XSGDWHV SXEOLVKHG E\ WKH 1DWLRQDO +XUULFDQH &HQWHU DIWHU FURVVLQJ WKH 6WUDLWV RI
   )ORULGDDQGEHLQJXSJUDGHGWRD&DWHJRU\KXUULFDQHLQLWLDOODQGIDOOWRRNSODFHDW&XGMRH.H\DW
   DP('7RQ6HSWHPEHUZKHUHDQHVWLPDWHGIW P VWRUPVXUJHRFFXUUHGGXULQJWKH
   DIWHUQRRQ,QWKH.H\VWKHKXUULFDQHFDXVHGPDMRUGDPDJHWREXLOGLQJVWUDLOHUSDUNVERDWVURDGV
   WKHHOHFWULFLW\VXSSO\PRELOHSKRQHFRYHUDJHLQWHUQHWDFFHVVVDQLWDWLRQWKHZDWHUVXSSO\DQGWKH
   IXHOVXSSO\.H\:HVW6XJDUORDI.H\6XPPHUODQG.H\5DPURG.H\/LWWOH7RUFK.H\%LJ3LQH
   .H\DQG0DUDWKRQZHUHDOVRIORRGHGE\VWRUPVXUJHDQGWRUQDGRHVZHUHUHSRUWHGDW6XJDUORDI
   .H\

   3XEOLFDWLRQVE\WKH1DWLRQDO+XUULFDQH&HQWHUUHSRUWHGVHFRQGODQGIDOOZDVPDGHDVD&DWHJRU\
   KXUULFDQHDW0DUFR,VODQGDWSP('7WKHVDPHGD\$IW P VWRUPVXUJHRFFXUUHG
   LQ1DSOHVZKLFK,UPDSDVVHGRYHUDVD&DWHJRU\KXUULFDQHDIWHUEHLQJGRZQJUDGHGDWSP

                                                                             
   <?&OLHQWV?)DOFRQ??'RFXPHQWV?56W /RXLV&RQGRPLQLXP$VVRFLDWLRQ+XUULFDQH,UPD'UDIW5HSRUW 'RF[[


                                                                                  St. Louis - Plaintiff's Expert - The Falcon Group's File - 000006
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 10 of
                                                     400
                                                       
                                                       
               (9$/8$7,212)'$0$*(6)2//2:,1*+855,&$1(,50$
   
   ('73DUWRI7DPSD%D\ DW+LOOVERURXJK%D\ ZDVGUDLQHGLQDUHYHUVHVWRUPVXUJHFDXVHGE\
   WKHVWRUP VSUHVVXUHGLIIHUHQWLDOSULRUWRWKHDUULYDORIWKHH\HRIWKHKXUULFDQH6DUDVRWD%D\ZDV
   DOVRGUDLQHG7KHKXUULFDQHZDVGRZQJUDGHGWR&DWHJRU\SULRUWRUHDFKLQJ7DPSD>@

    $ ZLQG JXVW RI PSK NPK  ZDV UHFRUGHG LQ 3HPEURNH 3LQHV DV SXEOLVKHG LQ WKH 6XQ
    6HQWHQWLDO6HSWHPEHU

    $VRISP('7RQ6HSWHPEHUDOPRVWFXVWRPHUVZHUHZLWKRXWSRZHULQ0LDPL
    'DGH&RXQW\DORQHZLWKDOPRVWZLWKRXWSRZHULQ%URZDUG&RXQW\RYHURXWLQ
    3DOP%HDFK&RXQW\DQGLQWRWDODSSUR[LPDWHO\FXVWRPHUVZHUHZLWKRXWSRZHUDFURVV
    WKHVWDWHDFFRUGLQJWRWKH)ORULGD3RZHU /LJKW3RZHU7UDNHU0DSZHEOLQN$VRISP
    ('7RQ6HSWHPEHURYHUPLOOLRQKRPHVLQ)ORULGDZHUHZLWKRXWSRZHU
           

           '$0$*(6859(<

    )DOFRQSHUIRUPHGRQVLWHLQVSHFWLRQVRQ6HSWHPEHUDQGVXEVHTXHQWGURQHHYDOXDWLRQRQ
    2FWREHU,QVSHFWLRQVZHUHSHUIRUPHGE\ :LOOLDP3\]QDU3(-RKQ4XLQQ*&/DQG
    /XLV/RSH]'URQH3LROHW
    
    )DOFRQZDVSURYLGHGDFFHVVE\EXLOGLQJPDQDJHPHQWWRQLQH  XQLWV 
      LQWKH6W/RXLV&RQGRPLQLXPEXLOGLQJ)DOFRQVXUYH\HGDOOIRXURI
    WKHIDFDGHVRQWKHEXLOGLQJYLDGURQH
                                     
        5RRI'DPDJH          
              7KHUHZDVQRGLVFHUQDEOHURRIGDPDJHRQWKHEXLOGLQJ                       
                  
        :LQGRZVDQG'RRUV'DPDJH
              6LJQLILFDQWGDPDJHRFFXUUHGWRWKHVOLGLQJGRRUVDQGZLQGRZV$OOWKHVOLGLQJ
              EDOFRQ\GRRUVDUHIORRUWRFHLOLQJDQGIHDWXUHDQDOXPLQXPIUDPHZLWKWHPSHUHG
              JODVVSDQHOV:LQGRZVDUHDOXPLQXPIUDPHGVLQJOHKXQJDQGSDUWLDOKHLJKW1R
              GLUHFWLPSDFWGDPDJHWRWKHJOD]LQJZDVREVHUYHGKRZHYHUWKHZLQGSUHVVXUHRQ
              WKH XQLWV FDXVHG WKHP WR UDFN ZLWKLQ WKH IUDPH FUHDWLQJ RSHUDWLRQDO DQG
              SHUIRUPDQFHLVVXHV
      
    The following images illustrate typical damages to the building's windows and doors caused by
    Hurricane Irma that was observed during our site investigation:
    
    




                                                                              
    <?&OLHQWV?)DOFRQ??'RFXPHQWV?56W /RXLV&RQGRPLQLXP$VVRFLDWLRQ+XUULFDQH,UPD'UDIW5HSRUW 'RF[[


                                                                                   St. Louis - Plaintiff's Expert - The Falcon Group's File - 000007
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 11 of
                                      400
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 12 of
                                      400
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 13 of
                                      400
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 14 of
                                      400
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 15 of
                                      400
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 16 of
                                      400
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 17 of
                                      400
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 18 of
                                      400
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018                                                                  Page 19 of
                                             400
                                               
                                               
              (9$/8$7,212)'$0$*(6)2//2:,1*+855,&$1(,50$
   
     hŶŝƚ
       η            EĂŵĞ                         ĂŵĂŐĞĚƌĞĂƐ                                                                      EŽƚĞƐ
     ϲϬϮ :ĞĂŶŶĂ<ŶŝŐŚƚ          ϮŶĚďĚ                                                                                               
     ϲϬϰ WĞĚƌŽ^ĂŶƚŝĂŐŽ         ϮƌĚďĚ                                                                                               
     ϲϬϱ 'ĂďƌŝĞůůĞĂŐĂ         >ŝǀŝŶŐƌŽŽŵĐĞŝůŝŶŐ                                                                                  
     ϳϬϮ &ĂďƌŝǌŝŽŝĂƌůŽ      DĂƐƚĞƌďĚĂŶĚϮŶĚď                                                                                 
     ϳϬϰ ^ŽŶŝĂĚŝŶŐĞƌ          ϮŶĚĚĂŶĚůŝǀŝŶŐƌŽŽŵ                                                                               
     ϳϬϱ ĞŶĞŶŝƚĞǌ            >ŝǀŝŶŐƌŽŽŵĐĞŝůŝŶŐ͕ƵŶĂďůĞƚŽŽƉĞŶǁŝŶĚŽǁƐ                                                          
     ϴϬϮ ĚŵĂƌ&ƵũŝƚĂ           ϮŶĚďĚ                                                                                               
     ϵϬϰ >ŽƌĞŶĞWĂƚŚƵŝƐũĞ       ĂůĐŽŶǇĐĞŝůŝŶŐ                                                                                      
     ϭϬϬϮ KůŐĂǀŐƌĂĨŽǀĂ        >ŝǀŝŶŐƌŽŽŵĨůŽŽƌ                                                                                    
     ϭϮϬϯ /ƌĞŶĞŝdŽŶĚŽ        ůŝǀŝŶŐƌŽŽŵďĂƐĞďŽĂƌĚƐ                                                                               
     ϭϯϬϮ ĂƚĂůŝŶĂ'ŽŶǌĂůĞǌ     ϮŶĚĚ                                                                                               
     ϭϯϬϰ ŝĂŵĞůǇƐdŽƌƌĞƐ       >ŝǀŝŶŐƌŽŽŵĐĞŝůŝŶŐ                                                                                  
     ϭϱϬϭ :ĂŝŵĞWŝŶĞĚĂ          ĂůĐŽŶǇĐĞŝůŝŶŐ                                                                                      
     ϭϱϬϯ zĂƋƵĞůŝŶĞZŝĐŚĂƌĚƐ    >ŝǀŝŶŐƌŽŽŵďĂƐĞďŽĂƌĚƐ                                                                              
     ϭϱϬϱ &ƌĂŶĐŝƐĐŽĂďĂůůĞƌŽ   >ŝǀŝŶŐƌŽŽŵǁĂůů                                                                                     
     ϭϲϬϰ DĂƌŝĂ͘DĂĐŝĂƐ       >ŝǀŝŶŐƌŽŽŵĨůŽŽƌ                                                                                    
     ϭϳϬϯ dĞƌĞǌĂ<ĞŵƉ           ůŝǀŝŶŐƌŽŽŵĂƌĞĂƌƵŐ                                                                                 
     ϭϳϬϰ ĂƌŵĞŶ>ĂƐƐŽ          ϮŶĚďĚǁĂůů                                                                                          
     ϭϴϬϯ WĂďůŽZĂŵŝƌĞǌ         >ŝǀŝŶŐƌŽŽŵĐĞŝůŝŶŐ                                                                                   
     ϭϴϬϰ ZĂǇŵŽŶĚƉŽƌƚĂ        ϮŶĚďĚǁĂůůƐ͕ĐĞŝůŝŶŐ͕ĂůƐŽƚŚĞĐůŽƐĞƚǁĂůů                                                          
     ϭϵϬϰ ZŽǆĂŶĂƵĚĞƚƚĂ        >ŝǀŝŶŐZŵďĂƐĞďŽĂƌĚƐ                                                                                
     ϮϬϬϰ WŚŽĞďĞ&ĞůůŽǁƐ        ϮŶĚďĚĂŶĚůŝǀŝŶŐĂƌĞĂƌƵŐĂŶĚƐŽĨĂ                                                                  
     ϮϬϬϱ WĂŽůŽŝŶĂ            >ŝǀŝŶŐƌŽŽŵĐĞŝůŝŶŐ                                                                                  
     ϮϭϬϰ ĂƉŚŶĞWůƵŐ           <ŝƚĐŚĞŶĐĞŝůŝŶŐ                                                                                      
     ϮϮϬϯ WĂƵůĂŵĂĐŚŽ         DĂƐƚĞƌďĞĚƌŽŽŵǁĂůůƐ                                                                                 
     ϮϮϬϰ ĂƌŽůŝŶĂWĞŶĂ         ϮŶĚďĚǁŝŶĚŽǁǁĂůů                                                                                   
     ϮϯϬϰ ^ĂŶũĂǇĂŶƐĂŶŝ        ůŝǀŝŶŐƌŽŽŵĐĞŝůŝŶŐĂŶĚďĂƐĞďŽĂƌĚƐ                                                                   
     ϮϯϬϱ ZŝƚĂĂƌŐŚĂŵ          ůŝǀŝŶŐƌŽŽŵĐĂƌƉĞƚĂŶĚďĂƐĞďŽĂƌĚƐ                                                                    
     ϮϰϬϮ ƌŶĂƵ>ůŽƉĂƌƚ         ϮŶĚďĚĐĞŝůŝŶŐ                                                                                       
     ϮϰϬϰ DĂƵƌŝĐŝŽĐĞǀĞĚŽ      ĞŝůŝŶŐ͕ďĂƐĞďŽĂƌĚƐĂƌŽƵŶĚƚŚĞƵŶŝƚ                                                                  
     ϮϱϬϰ :ŽƐĞůǇŶ>ƵƚĐŚŵĞĞƐŝŶŐŚ >ŝǀŝŶŐĂŶĚŵĂƐƚĞƌ                                                                                    
     ϮϲϬϮ ,ĞĐƚŽƌůŵĂŐƵĞƌ       DĂƐƚĞƌďĞĚƌŽŽŵǁŝŶĚŽǁ                                                                                
     ϮϴϬϭ DĂƌƚŝŶDŝĐŚĂĞůƐŽŶ     ůŝǀŝŶŐƌŽŽŵĐĞŝůŝŶŐ                                                                                  
     ϮϴϬϯ ůĞǆWƌĂƚƚ            DĂƐƚĞƌĂŶĚϮŶĚĚĐĞŝůŝŶŐƐĂŶĚůŝǀŝŶŐƌƌƵŐ                                                          
     ϮϴϬϱ ĂƐƐĂŶĚƌĂŶĚƌĂĚĞ     ĂůĐŽŶǇĐĞŝůŝŶŐ                                                                                      
     ϮϵϬϯ ^ĂŶĚƌĂsĞŝǌĂŐĂ        DĂƐƚĞƌďĚĐĂƌƉĞƚĂŶĚĐĞŝůŝŶŐ                                                                         
     ϯϬϬϭ <ĂůĂƐ               >ŝǀŝŶŐ͕ŵĂƐƚĞƌďĞĚƌŽŽŵĂŶĚďĂůĐŽŶǇ                                                                   

                                                                             
    <?&OLHQWV?)DOFRQ??'RFXPHQWV?56W /RXLV&RQGRPLQLXP$VVRFLDWLRQ+XUULFDQH,UPD'UDIW5HSRUW 'RF[[


                                                                                   St. Louis - Plaintiff's Expert - The Falcon Group's File - 000016
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 20 of
                                      400
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 21 of
                                      400
                                        
                                        
              (9$/8$7,212)'$0$*(6)2//2:,1*+855,&$1(,50$
   




                                                                                  
                      3KRWR3HHOLQJSDLQWIURPWKH'LQLQJ5RRPFHLOLQJRI8QLW




                                                                                                                          
                                                3KRWR3HHOLQJSDLQWIURPFHLOLQJ




                                                                            
   <?&OLHQWV?)DOFRQ??'RFXPHQWV?56W /RXLV&RQGRPLQLXP$VVRFLDWLRQ+XUULFDQH,UPD'UDIW5HSRUW 'RF[[


                                                                                  St. Louis - Plaintiff's Expert - The Falcon Group's File - 000018
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 22 of
                                      400
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 23 of
                                      400
                                        
                                        
              (9$/8$7,212)'$0$*(6)2//2:,1*+855,&$1(,50$
   




                                                                                                                          

                                  3KRWR:DWHUGDPDJHDWFHLOLQJRIJXHVWEHGURRP




                                                                                                                              

                                 3KRWR:DWHUGDPDJHDWFHLOLQJRIPDVWHUEHGURRP

                                                                              




                                                                            
   <?&OLHQWV?)DOFRQ??'RFXPHQWV?56W /RXLV&RQGRPLQLXP$VVRFLDWLRQ+XUULFDQH,UPD'UDIW5HSRUW 'RF[[


                                                                                  St. Louis - Plaintiff's Expert - The Falcon Group's File - 000020
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 24 of
                                      400
                                        
                                        
              (9$/8$7,212)'$0$*(6)2//2:,1*+855,&$1(,50$
   




3KRWR:DWHUGDPDJHDWFHLOLQJRI                                                   3KRWR:DWHUGDPDJHDWFHLOLQJ
PDVWHUEHGURRP
                                                                               

            6HYHUDOXQLWVKDGZDWHULQILOWUDWLRQIXUWKHUEDFNLQWRWKHXQLWVDORQJWKHHDVWHOHYDWLRQDORQJ
            WKHVKHDUZDOOVWKDWDUHSHUSHQGLFXODUWRWKHHDVWHOHYDWLRQ,WLVVXVSHFWHGWKHGDPDJHVLQ
            WKHFODGGLQJDOORZHGZDWHUWRLQILOWUDWHDORQJWKHFRQWLQXRXVVKHDUZDOOVDQGWUDYHOGRZQWR
            ORZHUXQLWVFDXVLQJGDPDJHWRILQLVKHV

    
         (IIHFWRI+XUULFDQH,UPDRQWKH%XLOGLQJ
             
    :LQGEXIIHWLQJDQGWKHLQWHQVHZLQGSUHVVXUHVWRZKLFKWKHEXLOGLQJDQGEXLOGLQJFRPSRQHQWV
    ZHUHH[SRVHGGXULQJ,UPDFDXVHGWKHEXLOGLQJVWUXFWXUHDQGFRPSRQHQWVWRPRYHDQGIOH[UHVXOWLQJ
    LQGDPDJHVWRWKHEXLOGLQJFRPSRQHQWV0RYHPHQWRIWKHEXLOGLQJFRPSRQHQWVFDXVHGE\,UPD¶V
    VWURQJ ZLQG IRUFHV LQ FRQMXQFWLRQ ZLWK EXLOGLQJ PRYHPHQW GXULQJ WKH VWRUP OHG WR ZDWHU
    LQILOWUDWLRQDQGDVVRFLDWHGLQWHULRUGDPDJHV
             
    7KHDOXPLQXPZLQGRZVDQGGRRUVZHUHFRPSURPLVHGDVDUHVXOWRIWKHVWURQJZLQGSUHVVXUHV
    7KH FRPSURPLVHG ZLQGRZV DQG GRRUV DOORZHG ZDWHU WR SHQHWUDWH LQWR WKH DSDUWPHQW XQLWV DQG
    FDXVHGDPDJHWRWKHZLQGRZDQGGRRUMDPEVKHDGHUVDQGVLOOVFHLOLQJVZDOOVDQGIORRUV%XIIHWLQJ
    RIWKHZLQGRZVDQGGRRUVFDXVHGE\,UPD VVWURQJZLQGIRUFHVGLVSODFHGWKHZLQGRZDQGGRRU
    JDVNHWDQGFDXVHGWKHZLQGRZVDQGGRRUVWRUDFN
    
    ,UPD VZLQGSUHVVXUHVLQFRQMXQFWLRQZLWKEXLOGLQJPRYHPHQWGXULQJWKHVWRUPFDXVHGVHSDUDWLRQV
    DQGIDLOXUHRIWKHH[WHULRUVHDODQWVDQGFODGGLQJRIWKHEXLOGLQJIDoDGH
    
    ,WLVRXURSLQLRQWKDWWKHGDPDJHWRWKHEXLOGLQJHQYHORSHZLQGRZVDQGGRRUVDVLQGLFDWHGLQWKLV
    UHSRUWZDVGLUHFWO\FDXVHGRUH[DFHUEDWHGE\+XUULFDQH,UPD VZLQGV8QUHSDLUHGGDPDJHWRWKH
    EXLOGLQJFRPSRQHQWVZRXOGPDNHWKHEXLOGLQJPRUHVXVFHSWLEOHWRIXUWKHUGDPDJHIURPIXWXUHUDLQ
    DQGZLQGVWRUPHYHQWV,WLVDUHFRJQL]HGIDFWWKDWGDPDJHGRUZHDNHQHGFODGGLQJFRPSRQHQWV


                                                                             
    <?&OLHQWV?)DOFRQ??'RFXPHQWV?56W /RXLV&RQGRPLQLXP$VVRFLDWLRQ+XUULFDQH,UPD'UDIW5HSRUW 'RF[[


                                                                                   St. Louis - Plaintiff's Expert - The Falcon Group's File - 000021
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 25 of
                                                      400
                                                        
                                                        
                (9$/8$7,212)'$0$*(6)2//2:,1*+855,&$1(,50$
   
   ZLQGRZVDQGGRRUVDUHPRUHVXVFHSWLEOHWRIXUWKHUGDPDJHGXULQJORZHULQWHQVLW\ZLQGVWRUPV
   WKHUHE\DOORZLQJPRUHZLQGWRHQWHULQWRDEXLOGLQJW\SLFDOO\UHVXOWLQJLQKLJKHUZLQGORDGV,WLV
   DOVRQRWHGWKDWWKHPDQDJHPHQWKDVUHSRUWHGWKDWXQLWVFRQWLQXHWROHDNDVDUHVXOWRIUHJXODUVWRUP
   HYHQWV DIWHU ,UPD ZKLFK GLG QRW OHDN SUHYLRXVO\ IXUWKHU VXSSRUWLQJ WKH GDPDJH WR FODGGLQJ
   ZLQGRZVDQGGRRUVFDXVHGE\,UPD
   
   'RFXPHQWV SURYLGHG E\ PDQDJHPHQW LQFOXGH SURSRVDOV UHSRUWV DQG LQYRLFHV IRU FOHDQLQJ DQG
   UHSDLUVLQFOXGLQJEXWQRWOLPLWHGWR
                x /REE\DLUFRQGLWLRQLQJFRPSUHVVRUUHSODFHPHQW
                x +DOOZD\DLUFRQGLWLRQLQJFRQWUROOHUUHSODFHPHQW
                x &KLOOHGZDWHUIORZVZLWFKUHSODFHPHQW
                x $PSEUHDNHUUHSODFHPHQW
                x -XQFWLRQER[IRUODQGVFDSHOLJKWLQJDQGFLUFXLWU\UHSODFHPHQW
                x ,QMHFWLRQ:HOOVSXPSRXWDQGFOHDQLQJ
                x VHGLPHQWWDQNUHSODFHPHQWV
                x 5HPRYDORIPXGDQGGHEULVIURPSDUNLQJJDUDJH
                x 5HPRYDORIIDOOHQWUHHVDQGEUDQFKHV
                x 5HPRYDORIFDUSHWIURPPHHWLQJURRPDQGRIILFH
                x 5HSODFHZDOODQGIORRULQJLQ3OD\URRP
                x 5HSODFHFDUGUHDGHUIRUJDUDJHH[LW
                x 5HSODFHHOHYDWRUFRQWUROERDUG
   
   
       &21&/86,216
   
   %DVHGRQWKHDQDO\VLVDQGHYDOXDWLRQSURYLGHGDERYHWKHIROORZLQJFRQFOXVLRQVDUHDSSURSULDWHWR
   DUHDVRQDEOHGHJUHHRI$UFKLWHFWXUDODQG(QJLQHHULQJFHUWDLQW\
   
   2EVHUYDWLRQVDQGHYDOXDWLRQRIH[LVWLQJFRQGLWLRQVDVVHVVPHQWRI +XUULFDQH,UPD ZLQGVSHHGV
   SUR[LPDWHWRWKHVLWHVKRZWKDWWKHEXLOGLQJVXVWDLQHGGDPDJHIURP+XUULFDQH,UPDZKLFKVWUXFN
   )ORULGDRQ6HSWHPEHU
   
   :LQGEXIIHWLQJDQGWKHLQWHQVHZLQGSUHVVXUHVWRZKLFKWKHEXLOGLQJDQGEXLOGLQJFRPSRQHQWV
   ZHUHH[SRVHGGXULQJ,UPDFDXVHGWKHEXLOGLQJVWUXFWXUHDQGFRPSRQHQWVWRPRYHDQGIOH[UHVXOWLQJ
   LQGDPDJHVWRWKHEXLOGLQJFRPSRQHQWVHVSHFLDOO\WKHZLQGRZVGRRUVDQGDUHDVRIWKHH[WHULRU
   FODGGLQJ
   
   0RYHPHQWRIWKHEXLOGLQJFRPSRQHQWVFDXVHGE\,UPD VVWURQJZLQGIRUFHVLQFRQMXQFWLRQZLWK
   EXLOGLQJPRYHPHQWGXULQJWKHVWRUPDVZHOODVFDXVHGRSHQLQJVLQWKHEXLOGLQJHQYHORSHOHDGLQJ
   WRLQWHULRUGDPDJHVDQGZDWHULQILOWUDWLRQ
   
   7KH FRPSURPLVHG ZLQGRZV DQG GRRUV DOORZHG ZDWHU WR SHQHWUDWH LQWR WKH DSDUWPHQW XQLWV DQG
   FRPPRQDUHDVDQGFDXVHGDPDJHWRWKHZLQGRZDQGGRRUMDPEVKHDGHUVDQGVLOOVFHLOLQJVZDOOV
   IORRUVFRQGHQVDWLRQRQWKHZLQGRZVVWDLQLQJRIWKHDOXPLQXPIUDPHVDQGVWUHDNVRIHYDSRUDWHG


                                                                             
    <?&OLHQWV?)DOFRQ??'RFXPHQWV?56W /RXLV&RQGRPLQLXP$VVRFLDWLRQ+XUULFDQH,UPD'UDIW5HSRUW 'RF[[


                                                                                   St. Louis - Plaintiff's Expert - The Falcon Group's File - 000022
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 26 of
                                                    400
                                                        
                                                        
                (9$/8$7,212)'$0$*(6)2//2:,1*+855,&$1(,50$
   
   ZDWHUULYXOHWVRQWKHJODVVSDQHVLQDGGLWLRQWRIORRGLQJRIDQGGDPDJHVRIFRPPRQDUHDILQLVKHV
   DQGPHFKDQLFDOHTXLSPHQWHOHFWULFHTXLSPHQWDQGFRQWUROV
   
   ,WLVRXURSLQLRQWKDWWKHGDPDJHWRWKHZLQGRZVDQGGRRUVDVLQGLFDWHGLQWKLVUHSRUWZDVGLUHFWO\
   FDXVHGRUH[DFHUEDWHGE\+XUULFDQH,UPD VZLQGV8QUHSDLUHGGDPDJHWRWKHEXLOGLQJFRPSRQHQWV
   ZRXOG PDNH WKH EXLOGLQJ PRUH VXVFHSWLEOH WR IXUWKHU GDPDJH IURP IXWXUH UDLQ DQG ZLQG VWRUP
   HYHQWV,WLVDUHFRJQL]HGIDFWWKDWGDPDJHGRUZHDNHQHGZLQGRZVDQGGRRUVDUHPRUHVXVFHSWLEOH
   WRIXUWKHUGDPDJHGXULQJORZHULQWHQVLW\ZLQGVWRUPVWKHUHE\DOORZLQJPRUHZLQGWRHQWHULQWRD
   EXLOGLQJW\SLFDOO\UHVXOWLQJLQKLJKHUZLQGORDGV3RRURSHUDWLRQRIWKHZLQGRZVDQGGRRUVKDYH
   EHHQUHSRUWHGWKURXJKRXWWKHEXLOGLQJDVDGLUHFWHIIHFWRIWKHZLQGIRUFHVSURGXFHGE\WKHVWRUP
   
   $UHDVRIWKHH[WHULRUFODGGLQJKDVFUDFNHGFUHDWLQJSRLQWVRIZDWHULQILOWUDWLRQ6HOHFWLYHUHSDLUV
   VKDOOEHFRPSOHWHGWRUHVWRUHWKHH[WHULRUFODGGLQJWRDZDWHUWLJKWFRQGLWLRQDQGWKHHQWLUHIDoDGH
   FRDWHGZLWKDZDWHUSURRISDLQWDQGQHZVHDODQWV
   
   $OO UHVLGHQWLDO ZLQGRZV DQG GRRUV VKRXOG EH UHSODFHG DV WKH H[LVWLQJ XQLWV KDYH IDLOHG DQG QR
   ORQJHUIXQFWLRQFRUUHFWO\RUSURYLGHWKHQHFHVVDU\ZHDWKHUSURWHFWLRQ1HZZLQGRZVDQGGRRUV
   VKDOOEHKXUULFDQHUDWHGDVUHTXLUHGE\WKHFXUUHQWEXLOGLQJFRGH5HSODFHPHQWRIWKHZLQGRZV
   ZLOOUHTXLUHUHSDLUVWRWKHDGMDFHQWVWXFFRIXUWKHUQHFHVVLWDWLQJUHFRDWLQJWKHHQWLUHEXLOGLQJ
   
   
   6LQFHUHO\
   
   
   
   :LOOLDP-3\]QDU3(
   3ULQFLSDO
   )/




                                                                              
     <?&OLHQWV?)DOFRQ??'RFXPHQWV?56W /RXLV&RQGRPLQLXP$VVRFLDWLRQ+XUULFDQH,UPD'UDIW5HSRUW 'RF[[


                                                                                    St. Louis - Plaintiff's Expert - The Falcon Group's File - 000023
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 27 of
       GCI CONSULTANTS, LLC           400                             St. Louis Condominiums
                                                                                         Water Leakage Investigation Report
                                                                                                      September 17, 2018
                                                                                                               Page 1 of 28


                       Water Leakage Investigation Report

                              St. Louis Condominium
                            800 Claughton Island Drive
                                  Miami, FL 33131




                                     Prepared for:

                       Susan C. Odess, Esq., Attorney
       Siegfried Rivera Hyman Lerner De la Torre Mars & Sobel, PA
                      201 Alhambra Circle, 11th Floor
                          Coral Gables, FL 33134

                                 Investigation Dates:
                                 09/11/18 & 09/12/18

                                    Report Date:
                                 September 17, 2018

                                             St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000001
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 28 of
              GCI CONSULTANTS, LLC    400                             St. Louis Condominiums
                                                                                                                Water Leakage Investigation Report
                                                                                                                             September 17, 2018
                                                                                                                                      Page 2 of 28


STATEMENT OF OBJECTIVE

GCI Consultants, LLC (GCI) was retained to conduct a water leakage investigation at the referenced project
site. The objective is to identify, investigate and provide opinions as to the source(s) of water intrusion
during and after Hurricane Irma.

INVESTIGATION PROTOCOL

Conduct a water leakage investigation at the referenced project site using guidelines contained in ASTM
E2128-17 Standard Guide for Evaluating Water Leakage of Building Walls, including:
    Gather and review relevant project information as available.
    Interview building management and/or occupants to gain insight about service history.
    Inspect areas of reported leakage.
    Conduct testing of representative leakage locations to recreate reported leaks and identify source(s).

Water test pressures were developed by researching weather records for the highest winds during a rain event
at the closest weather reporting station 365 days prior to September 10, 2017 and the days subsequent to
September 10, 2017 up to the investigation date.

Water leakage testing includes (continue through sequences until water leakage occurs and source(s) are
identified):
     Sequence 1: Spray testing using calibrated water spray rack as described in ASTM E1105-15
        Standard Test Method for Field Determination of Water Penetration of Installed Exterior Windows,
        Skylights, Doors, and Curtain Walls, by Uniform or Cyclic Static Air Pressure Difference. Static air
        pressure differential = 0 pounds per square foot (psf) Duration = 15 minutes.
     Sequence 2: Spray testing using calibrated water spray rack as described in ASTM E1105-15. Static
        air pressure differential = 2.96 psf or 0.571 column inches of water. Duration = 15 minutes.
     Sequence 3: Spray testing using calibrated water spray rack as described in ASTM E1105-15. Static
        air pressure differential = 4.96 psf or 0.952 column inches of water. Duration = 15 minutes.
     Sequences 4: Investigate and confirm specific source(s) of leakage by successively testing isolated
        components with a combination of water spray rack, low pressure spray nozzle, and/or static air
        pressure differential.

SOURCES OF INFORMATION
Nelly Nickerson, Community Association Manager at St. Louis Condominium Association informed GCI
Consultants that most of the glazing systems of the St. Louis Condominium sustained damages due to
Hurricane Irma.

DESCRIPTION OF SYSTEMS
 Specimen               Description                                                          Location
    A     One Panel Picture Window                                        Lobby, Meeting Room, East Elevation.
    B     Two Panel Fixed Window                                          Lower Lobby, Gym Area, East Elevation.
    C     Three Single hung Windows                                       25th Floor, Unit 2504, East Elevation.
    D     Three Panel Sliding Glass Door                                  10th Floor, Unit 1002, East Elevation.
    E     Three Single hung Windows                                       13h Floor, Unit 1302, East Elevation.

1   Equivalent to the highest winds during a rain event after September 10, 2017 up to the date of the investigation
2   Equivalent to the highest winds during a rain event during the 365 days prior to September 10, 2017


                                                                    St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000002
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 29 of
        GCI CONSULTANTS, LLC          400                             St. Louis Condominiums
                                                                                               Water Leakage Investigation Report
                                                                                                            September 17, 2018
                                                                                                                     Page 3 of 28




SERVICE HISTORY

     No modifications were done to the glazing systems after the storm.
     No glazing maintenance records were provided from prior to the storm.




                                                   St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000003
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 30 of
          GCI CONSULTANTS, LLC        400                             St. Louis Condominiums
                                                                                                   Water Leakage Investigation Report
                                                                                                                September 17, 2018
                                                                                                                         Page 4 of 28


             WATER LEAKAGE INVESTIGATION OBSERVATIONS AND RESULTS


Lobby, Meeting Room
Tuesday September 11, 2018   11:17 AM
                                   East elevation, One Panel Picture Window.




                                                       St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000004
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 31 of
        GCI CONSULTANTS, LLC          400                             St. Louis Condominiums
                                                                                               Water Leakage Investigation Report
                                                                                                            September 17, 2018
                                                                                                                     Page 5 of 28




 Perimeter sealant and glazing sealant were damaged during the storm, creating openings through which
                                            water could pass




                                                   St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000005
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 32 of
       GCI CONSULTANTS, LLC           400                             St. Louis Condominiums
                                                                                            Water Leakage Investigation Report
                                                                                                         September 17, 2018
                                                                                                                  Page 6 of 28


                            0.0 Psf. – 0.0 Col. In. H2O. for 15 min.




                              No water was observed at 0.0 PSF.

                            2.96 Psf. - 0.57 Col. In. H2O. for 15 min




                                                St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000006
 Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 33 of
                                       400

               GCI CONSULTANTS, LLC




                               No water was observed at 0.57 PSF.

                               4.96 Psf. - 0.95 Col. In. H2O. 15 min




WWW.GCICONSULTANTS.COM
                                      Miami                   West Palm Beach                            Atlanta
561.689.0055




                                                    St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000007
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 34 of
                                      400

      GCI CONSULTANTS, LLC                                                              St. Louis Condominiums
                                                                              Water Leakage Investigation Report
                                                                                                     09/17/2018
                                                                                                    Page 8 of 28




                                        St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000008
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 35 of
                                      400

      GCI CONSULTANTS, LLC                                                                         St. Louis Condominiums
                                                                                         Water Leakage Investigation Report
                                                                                                                09/17/2018
                                                                                                               Page 9 of 28




       Water flowed from the sill glazing joint and collected atop the window frame sill.




                                                   St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000009
 Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 36 of
                                       400

          GCI CONSULTANTS, LLC                                                                            St. Louis Condominiums
                                                                                                Water Leakage Investigation Report
                                                                                                                       09/17/2018
                                                                                                                     Page 10 of 28



Lower Lobby, Gym Area.
Tuesday September 11, 2018   2:27 PM
                                           Two Panel Fixed Window




                                  0.0 Psf. – 0.0 Col. In. H2O. for 15 min.




                                       No Water was observed at 0.0 PSF.




                                                          St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000010
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 37 of
                                      400

      GCI CONSULTANTS, LLC                                                                   St. Louis Condominiums
                                                                                   Water Leakage Investigation Report
                                                                                                          09/17/2018
                                                                                                        Page 11 of 28


                      2.96 Psf. - 0.57 Col. In. H2O. for 15 min




                                             St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000011
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 38 of
                                      400

      GCI CONSULTANTS, LLC                                                                          St. Louis Condominiums
                                                                                          Water Leakage Investigation Report
                                                                                                                 09/17/2018
                                                                                                               Page 12 of 28




        Water flowed to the interior from the sill glazing joint and a corner frame joint.




                                                    St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000012
 Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 39 of
                                       400

         GCI CONSULTANTS, LLC                                                                         St. Louis Condominiums
                                                                                            Water Leakage Investigation Report
                                                                                                                   09/17/2018
                                                                                                                 Page 13 of 28



25th Floor, Unit 2504
Wednesday September 12, 2018   10:06
                                       Three Single Hung Windows




                                                      St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000013
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 40 of
                                      400

      GCI CONSULTANTS, LLC                                                                        St. Louis Condominiums
                                                                                        Water Leakage Investigation Report
                                                                                                               09/17/2018
                                                                                                             Page 14 of 28




   Frame joints damaged during the storm, creating openings through which water could pass.




                                                  St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000014
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 41 of
                                      400

      GCI CONSULTANTS, LLC                                                                     St. Louis Condominiums
                                                                                     Water Leakage Investigation Report
                                                                                                            09/17/2018
                                                                                                          Page 15 of 28


                      0.0 Psf. – 0.0 Col. In. H2O. for 15 min.




                            No water observed at 0.0 Psf.




                                               St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000015
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 42 of
                                      400

      GCI CONSULTANTS, LLC                                                                   St. Louis Condominiums
                                                                                   Water Leakage Investigation Report
                                                                                                          09/17/2018
                                                                                                        Page 16 of 28


                      2.96 Psf. - 0.57 Col. In. H2O. for 15 min




                                             St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000016
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 43 of
                                      400

      GCI CONSULTANTS, LLC                                                                      St. Louis Condominiums
                                                                                      Water Leakage Investigation Report
                                                                                                             09/17/2018
                                                                                                           Page 17 of 28




                Water flowed to the interior from an assembly frame joint.




                                                St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000017
 Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 44 of
                                       400

         GCI CONSULTANTS, LLC                                                                         St. Louis Condominiums
                                                                                            Water Leakage Investigation Report
                                                                                                                   09/17/2018
                                                                                                                 Page 18 of 28



10th Floor, Unit 1002
Wednesday September 12, 2018   1:16 P.M.
                                     Three Panel Sliding Glass Door




      Frame joints damaged during the storm, creating openings through which water could pass.




                                                      St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000018
 Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 45 of
                                       400

         GCI CONSULTANTS, LLC                                                                         St. Louis Condominiums
                                                                                            Water Leakage Investigation Report
                                                                                                                   09/17/2018
                                                                                                                 Page 19 of 28




Perimeter sealant and glazing sealant were damaged during the storm, creating openings through which
                                           water could pass.

                               0.0 Psf. – 0.0 Col. In. H2O. for 15 min.




                                                      St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000019
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 46 of
                                      400

      GCI CONSULTANTS, LLC                                                                   St. Louis Condominiums
                                                                                   Water Leakage Investigation Report
                                                                                                          09/17/2018
                                                                                                        Page 20 of 28




                         No water was observed at 0.0 PSF.

                      2.96 Psf. - 0.57 Col. In. H2O. for 15 min




                                             St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000020
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 47 of
                                      400

      GCI CONSULTANTS, LLC                                                                      St. Louis Condominiums
                                                                                      Water Leakage Investigation Report
                                                                                                             09/17/2018
                                                                                                           Page 21 of 28




                Water flowed from the left panel bottom rail glazing joint.




                                                St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000021
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 48 of
                                      400

      GCI CONSULTANTS, LLC                                                                        St. Louis Condominiums
                                                                                        Water Leakage Investigation Report
                                                                                                               09/17/2018
                                                                                                             Page 22 of 28




                  Water flowed from the left panel bottom rail glazing joint.




      Water flowed from the joint between the operable panel top rail and the head track.




                                                  St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000022
 Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 49 of
                                       400

         GCI CONSULTANTS, LLC                                                                        St. Louis Condominiums
                                                                                           Water Leakage Investigation Report
                                                                                                                  09/17/2018
                                                                                                                Page 23 of 28



13th Floor, Unit 1302
Wednesday September 12, 2018   3:15P.M.
                                      Three Single Hung Window.




                                                     St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000023
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 50 of
                                      400

      GCI CONSULTANTS, LLC                                                                         St. Louis Condominiums
                                                                                         Water Leakage Investigation Report
                                                                                                                09/17/2018
                                                                                                              Page 24 of 28




   Frame joints damaged during the storm, creating openings through which water could pass.

                            0.0 Psf. – 0.0 Col. In. H2O. for 15 min.




                                                   St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000024
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 51 of
                                      400

      GCI CONSULTANTS, LLC                                                                   St. Louis Condominiums
                                                                                   Water Leakage Investigation Report
                                                                                                          09/17/2018
                                                                                                        Page 25 of 28




                     Water flowed from an assembly frame joint.

                      2.96 Psf. - 0.57 Col. In. H2O. for 15 min




                                             St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000025
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 52 of
                                      400

      GCI CONSULTANTS, LLC                                                                  St. Louis Condominiums
                                                                                  Water Leakage Investigation Report
                                                                                                         09/17/2018
                                                                                                       Page 26 of 28




                     Water flowed from an assembly frame joint.




                                            St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000026
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 53 of
                                      400

      GCI CONSULTANTS, LLC                                                              St. Louis Condominiums
                                                                              Water Leakage Investigation Report
                                                                                                     09/17/2018
                                                                                                   Page 27 of 28




                                        St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000027
 Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 54 of
                                       400

         GCI CONSULTANTS, LLC                                                                          St. Louis Condominiums
                                                                                             Water Leakage Investigation Report
                                                                                                                    09/17/2018
                                                                                                                  Page 28 of 28


ANALYSIS AND CONCLUSIONS

GCI Consultants, LLC (GCI) conducted a water leakage investigation at the referenced project site using
guidelines contained in ASTM E2128-17 Standard Guide for Evaluating Water Leakage of Building
Walls. Seven representative leak locations were investigated as described herein. Each location was
identified by building management or occupants as having leaked during Hurricane Irma in September
2017. They further reported leakage was not occurring prior to Hurricane Irma, but has now continued
afterwards.

The results of GCI’s investigation contained herein confirm active water leakage at representative leak
locations. The leakage was caused by openings formed by the storm and damage that occurred during
the storm. Specific damages causing water leakage include:
     Openings formed in glazing joints by the storm
     Openings formed in the frame joints by the storm.

The observed damages in combination with observed wind damage (documented in a separate report)
cannot be repaired. The windows must be replaced. The stucco must have all cracks repaired and must
be re-waterproofed.

My expert opinions and the basis for them are contained within this report and are to a reasonable
degree of professional certainty. I reserve the right to supplement my opinions if I am asked to provide
any additional services or if new information becomes available.




                                                                                   September 17, 2018
  Name                                                                             Date




                                                       St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000028
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 55 of
                                      400

                   GCI CONSULTANTS, LLC
   September 18, 2018



   St. Louis Condominium Association, Inc.
   800 Claughton Island Drive
   Miami Fl, 33131

   RE: St. Louis Condominium Site Inspection

   Dear Board Members;

   GCI Consultants, LLC (GCI) has been retained St. Louis Condominium Association, Inc.
   to inspect glazing assemblies at the subject property for evidence of windstorm damage and
   provide documentation and opinions regarding any identified damage and how to remedy it. My
   expert opinions and the basis for them are contained within this report and are to a reasonable
   degree of professional certainty.

   The basis for my expert opinions includes my work background and over 35 years of experience
   in the industry including, but not limited to:

       x    Thorough working knowledge of windows and sliding glass doors;
       x    Extensive testing of similar windows and sliding glass doors;
       x    Developed and introduced the missile impact test that is now used in the Florida Building
            Code;
       x    Member of ASTM Committees that develop and maintain performance and test standards
            for the window industry;
       x    Author of numerous papers and articles about hurricane damages and designs for
            hurricane protection;
       x    Hurricane damage investigations following virtually every major storm since Hurricane
            Andrew in 1992;
       x    Windstorm damage investigations at over 250 projects following hurricanes of 2004 and
            2005 in Florida;
       x    Speaker at various educational seminars about hurricane damages and hurricane
            protection;
       x    Former part owner of Hurricane Test Laboratory, which tests windows and doors to
            Florida Building Code Standards;
       x    Consultant to Owners, Architects, Contractors and Insurance Companies for hurricane
            damage and mitigation.
       x    Qualified as an Expert Witness in Federal and State courts with hurricane wind damage,
            windows and doors, and water leakage


   A copy of my current Curriculum Vitae is included as ATTACHMENT I and provides further
   information about my qualifications


    WWW.GCICONSULTANTS.COM             Miami                     West Palm Beach                            Atlanta
    561.689.0055

                                                    St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000029
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 56 of
                                      400

             GCI CONSULTANTS, LLC
   St. Louis Condominium
   September 18, 2018

   GCI conducted inspections at the property in August and September 2018. Our activities at the
   site included a physical examination of every accessible exterior window and sliding glass door
   assembly.

   Background Information

   This project is a thirty-one-floor condominium building with a total of 130 units. The structures
   are concrete and block. Glazing product types include: single hung window, double single hung
   windows, triple single hung window, three panel sliding glass door. The windows and doors are
   believed to date from the original construction. The manufacturer is Howard Industries, Inc.

   Scope of Assignment
   GCI was retained to inspect exterior windows and doors for windstorm damage following
   Hurricane Irma striking the property on September 10, 2017. The owner representative has
   advised us that the property insurance policy provides for remedying windstorm damage to
   exterior window and door assemblies to their pre-loss condition A repair would need to cure any
   observed windstorm damage by restoring the assemblies in performance and appearance to the
   condition they were in prior to the loss date. If the windows and doors are not able to be repaired
   to their pre-loss condition, then they must be replaced with new code compliant assemblies.

   Windstorm Damage Inspection
   Every accessible window and door in the building was inspected by me and trained GCI
   inspectors, using the protocol included as ATTACHMENT II. I have reviewed, edited and
   approved the data presented within this report, which consists of damage observations and
   photographs.

   The data was collected using Bluebeam Revu software installed on iPad devices. GCI set up
   floor plan and elevation data sheets prior to the field inspection that were used to record
   observations and capture photographs. The field data sheets (Floor Plans & Elevations) with data
   collected during the inspection are included as ATTACHMENT III to this report.

   GCI’s field observations were recorded by inserting keynotes that I developed for the inspection
   to describe types of windstorm damage onto elevation drawings of each window or door.
   Specific observations included:




                                                    St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000030
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 57 of
                                      400

             GCI CONSULTANTS, LLC
   St. Louis Condominium
   September 18, 2018

   Frame Joint Damage (FJD) - A frame member becomes twisted or separated from another as
   evidenced by being out of plane, a gap or daylight. This occurs when the frame deflects under
   load, causing a frame joint between a vertical and horizontal member to twist or come apart.




   Frame Joint Damage




                                                   St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000031
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 58 of
                                      400

             GCI CONSULTANTS, LLC
   St. Louis Condominium
   September 18, 2018




   Frame Joint Damage




                                        St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000032
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 59 of
                                      400

             GCI CONSULTANTS, LLC
   St. Louis Condominium
   September 18, 2018

   Damaged or Missing Glazing Bead (GS) - The glazing bead (or glass stop), which functions as a
   structural member to secure glass in a frame, is misaligned or bent. This occurs when the
   window or door deflects under wind load. This is a structural issue that cannot be economically
   repaired.




   Damaged Glass Stop




                                                  St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000033
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 60 of
                                      400

             GCI CONSULTANTS, LLC
   St. Louis Condominium
   September 18, 2018




   Damaged Glass Stop




                                        St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000034
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 61 of
                                      400

             GCI CONSULTANTS, LLC
   St. Louis Condominium
   September 18, 2018

   Frame Movement (FM) - The perimeter frame has moved as evidenced by a crack between the
   frame and adjacent surfaces.




   Frame Movement




                                               St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000035
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 62 of
                                      400

             GCI CONSULTANTS, LLC
   St. Louis Condominium
   September 18, 2018




   Frame Movement




                                        St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000036
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 63 of
                                      400

             GCI CONSULTANTS, LLC
   St. Louis Condominium
   September 18, 2018

   Water Damage (WD) - Evidence of water ingress.




   Water Damage




                                               St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000037
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 64 of
                                      400

             GCI CONSULTANTS, LLC
   St. Louis Condominium
   September 18, 2018




   Water Damage




                                        St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000038
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 65 of
                                      400

             GCI CONSULTANTS, LLC
   St. Louis Condominium
   September 18, 2018


   Analysis and Opinions

   A summary of windstorm damage observations at windows and doors is contained in list format
   as ATTACHMENT IV. They include recommendation(s) as to whether each assembly should be
   repaired or replaced.

   For assemblies where replacement is recommended, the performance has been reduced and they
   are vulnerable to future wind events, including during typical afternoon thunderstorms. Repair is
   not possible due to the type of damage and/or impracticality of repair.

   Replacement assemblies must be designed by a licensed professional engineer who would
   analyze any applicable current code and wind loading requirements. They must withstand
   required wind loads and have any needed Product Approval and NOA documents.

   We reserve the right to supplement my opinion(s) if we are asked to provide any additional
   services or if new information becomes available.
   Respectfully submitted:
   GCI Consultants, LLC



   Paul E. Beers
   CEO and Managing Member




   enclosures




                                                   St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000039
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 66 of
                                      400

                 GCI CONSULTANTS, LLC
   St. Louis Condominium
   September 18, 2018




                                  Table of Contents
   ATTACHMENT I ....................................................................................................................... 13
      Curriculum Vitae .................................................................................................................... 13
   ATTACHMENT II ..................................................................................................................... 26
      Inspection Protocol .................................................................................................................. 26
   ATTACHMENT III .................................................................................................................... 28
      Site Inspection Data ................................................................................................................ 28
   ATTACHMENT IV .................................................................................................................... 29
      Data Spreadsheet ..................................................................................................................... 29




                                                                        St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000040
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 67 of
                                      400

             GCI CONSULTANTS, LLC
   St. Louis Condominium
   September 18, 2018



                        ATTACHMENT I
                                    Curriculum Vitae




                                           St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000041
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 68 of
                                      400

             GCI CONSULTANTS, LLC
   St. Louis Condominium
   September 18, 2018

                                        PAUL E. BEERS
                                          Curriculum Vitae

                                           September 2018
    PROFESSIONAL EXPERIENCE

    2005 - Present                Managing Member
                           GCI Consultants, LLC
                           (formerly Glazing Consultants International, LLC, successor entity to
                           Glazing Consultants, Inc.)
                           Building envelope consulting firm

    1994 – 2011                   Owner/Director
                           Hurricane Test Laboratory
                           Building Products Testing Facility

    1988 - 2005                   Chief Executive Officer
                           Glazing Consultants, Inc.
                           Building envelope consulting firm

    1983 - 1989                   President
                           Florida Window and Door, Inc.
                           Commercial glazing firm

    1981 - 1983                  Vice President
                           Palm Beach Window Contractors, Inc.
                           Window installation firm

    1979 - 1981                   Window and sliding glass door installer and supervisor
                           Jet Window Installers, Inc.
                           Window distributor

    1978 - 1979                  Window and sliding glass door installer
                           Gold Coast Erectors, Inc.
                           Window installation firm

            1978                  Carpenter's Helper D. E. Hughes, Inc.
                           Structural contractor




                                                   St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000042
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 69 of
                                      400

             GCI CONSULTANTS, LLC
   St. Louis Condominium
   September 18, 2018


    SELECTED PROFESSIONAL ASSIGNMENTS
    (1)             GCI Consultants, LLC

           Perform consulting and expert services for: attorneys, insurance companies, general
           contractors, architects, developers, manufacturers, installers and building owners. Types
           of projects include hotels, office buildings, hospitals, airports, schools, condominiums,
           and municipal buildings.

    (2)             Glazing Consultants, Inc.

           Perform consulting and expert services for: attorneys, insurance companies, general
           contractors, architects, developers, manufacturers, installers and building owners. Types
           of projects include hotels, office buildings, hospitals, airports, schools, condominiums,
           and municipal buildings.

    (3)             Florida Window and Door, Inc.

           Commercial glazing firm with sales volume averaging over $1,000,000.00 annually.
           Duties included: sales, estimating, project coordination, employee supervision and
           financial management.

           Types of products sold included: storefronts, curtain walls, sloped glazing, sliding glass
           doors, windows, and all types of glass. Also specialized in water leak repairs and glass
           and window replacements.

    (4)             Palm Beach Window Contractors, Inc.

           Commercial glazing firm specializing in window and sliding glass door installation,
           water leakage repairs, and scratched glass replacement. Duties included: installation,
           sales, estimating, supervision, and financial management.

    (5)             Jet Window Installers, Inc.

           Window and sliding glass door distributor specializing in new installations. Duties
           included installation of products as well as supervision of workers.

    (6)             Gold Coast Erectors, Inc.

           Window and sliding glass door installation firm.

    (7)             D. E. Hughes, Inc.

           Structural concrete forming contractor.




                                                     St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000043
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 70 of
                                      400

             GCI CONSULTANTS, LLC
   St. Louis Condominium
   September 18, 2018

   EDUCATION

   1978 - 1979             Attended Palm Beach Junior College, Lake Worth, FL

   1978                    Attended University of Florida, Gainesville, FL

   1974 - 1977             Graduate of Palm Beach Gardens High School, Palm Beach Gardens, FL


   CONTINUING EDUCATION

   February 2017           Sto Innovation Conference, New York, NY

   April 2015              Glass & Metal Symposium, Miami, FL

   November 2014           Glass & Metal Symposium, Orlando, FL

   February 2014           Glass & Metal Symposium, Fort Lauderdale, FL

   April 2011              Window Designs for Bomb Blasts – ASCE Structures Conference, Las
                           Vegas, NV

   March 2011              Glass Association of North America – Building Envelope Conference, Las
                           Vegas, NV

   March 2010              Glass Association of North America – Building Envelope Conference, Las
                           Vegas, NV

   August 2009             GCI Educational Seminar – GE Sealants, Tremco ETA Assemblies, Fluke
                           Thermal Imagers and Suspended Platform Safety Training, West Palm
                           Beach, FL

   August 2008             An Overview of AAMA 511-08, West Palm Beach, FL

   August 2008             Below Grade Waterproofing and Deck Coatings, Tremco, Inc, GCI
                           Education Seminar, West Palm Beach, FL

   August 2008             The Roofing Industry and SBS Modified Bitumen Roofing, Soprema, Inc.,
                           GCI Education Seminar, West Palm Beach, FL

   August 2007             SBS Modified Bitumen Roofing Systems, and Terapro Waterproofing and
                           Surfacing Systems by Siplast, Palm Beach Gardens, FL




                                                    St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000044
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 71 of
                                      400

             GCI CONSULTANTS, LLC
   St. Louis Condominium
   September 18, 2018

   August 2006             “Commercial Glass School” and “Glass Performance Pitfalls,” Viracon,
                           Palm Beach Gardens, FL

   August 2005             GCI Educational Seminar – Dow Corning Sealants, ASTM Standards and
                           Field Water Infiltration Tests, West Palm Beach, FL

   April 2004              Construction Specifications Institute National Conference, Chicago, IL –
                           various continuing education courses

   June 2003               Lorman Education Services, “Advances in Environmental Mold Issues in
                           Florida,” Sarasota, FL

   November 2002           NIST/HUD “Mold in Housing” Workshop, Gaithersburg, MD

   March 2002              ASTM Symposium on Glass in Buildings, Pittsburgh, PA

   February 2002           Conference on Security Glazing, GSA Headquarters, Washington, DC

   April 1999              BETEC Symposium on Security Glazing, Impact Resistant Windows and
                           Systems, and Thermal Performance, Atlanta, GA
   November 1998           3rd National Contract Glazing Conference, Dallas, TX

   June 1998               BETEC Symposium on Security Glazing, Impact Resistant Windows and
                           Systems, and Thermal Performance, Washington, DC

   April 1998              ASTM Symposium on Water Problems in Building Exterior Walls:
                           Evaluation, Prevention, and Repair, Atlanta, GA

   October 1997            ASTM Symposium on Exterior Insulated Finish Systems (EIFS),
                           Innovations and Solutions to Industry Challenges, San Diego, CA

   March 1997              American Arbitration Association Training Workshop for Construction
                           Industry Arbitration, Ft. Lauderdale, FL

   March 1996              ASTM Symposium on Water Leakage Through Building Facades,
                           Orlando, FL

   February 1996           ASTM Symposium on The Science and Technology of Building Seals,
                           Sealants, Glazing and Water Proofing, Ft. Lauderdale, FL

   March 1995              ASTM Symposium on Exterior Insulated Finish Systems (EIFS):
                           Materials, Properties and Performance, Denver, CO

   December 1993           ASCE Conference on Hurricanes of 1992, Miami, FL




                                                    St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000045
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 72 of
                                      400

              GCI CONSULTANTS, LLC
   St. Louis Condominium
   September 18, 2018

   February 1991           ASTM Symposium on Building Seals and Sealants, Ft. Lauderdale, FL

   October 1990            ASTM Symposium on Water Leakage Through the Exterior Building
                           Envelope, Detroit, MI


   PROFESSIONAL LICENSES

   Glass and Glazing       Dade County, FL Martin County, FL

   Window and Door         Palm Beach County, FL Broward County, FL

   *Note:                  All licenses were held during periods of association with glazing firms.
                           Licenses are no longer active.




   PROFESSIONAL ASSOCIATIONS

   American Society for Testing and Materials (ASTM International)

            Technical Committees:
                   E 06 Performance of Building Construction
                   C 14 Glass
                   F 14 Security

   Florida Hospital Engineering Association

   Glass Association of North America




                                                     St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000046
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 73 of
                                      400

             GCI CONSULTANTS, LLC
   St. Louis Condominium
   September 18, 2018

   PUBLICATIONS

    Beers, Paul E., "Wind Risk Assessments for Cladding and Glazing Systems in Critical
    Facilities," ASCE 2011 Structures Congress, Las Vegas, NV, April 14, 2011.

    Beers, Paul E., “Designing Beyond the Code,” USGlass, Metal & Glazing, March 2008.

    Beers, Paul E., “Designing Beyond the Code,” Architects Guide to Glass, Volume 22, Issue
    2, March/April 2008.

    Beers, Paul E., Pilcher, Mark, Sciaudone, Jeffrey, “Retrofitting Commercial Glazing Systems
    with Laminated Glass,” Use of Glass in Buildings, ASTM STP 1434, V. Block, Ed., ASTM
    International, 2003.

    Beers, Paul E., “Hurricane Protection Requirements for Glazing: Codes and Standards
    Update,” The Construction Specifier, August 2000.

    Beers, Paul E., and Yarosh, Kenneth J., “Remedial Sealant Procedures for Fixed Glass and
    Curtain Walls,” Journal of Engineering and Testing, ASTM, March 2000.

    Beers, Paul E., Smith, William D., “Evaluation of Windows and Sliding Glass Door Assemblies
    Installed in New Construction Projects” Water Problems in Building Exterior Walls:
    Evaluation, Prevention, and Repair, Third Volume, ASTM STP 1352, Jon Boyd and Michael
    Scheffler, Eds., ASTM, 1999.

    Beers, Paul E., Smith, William D., “Repair Methods for Common Water Leaks at Operable
    Windows and Sliding Glass Doors” Water Leakage Through Building Facades, ASTM STP
    1314, R.J. Kudder and J.L. Erdley, Eds., ASTM, 1998.

    Beers, Paul E., Smith, William D., “Quality Control Procedures to Prevent Water Leakage
    Through Windows,” Water Leakage Through Building Facades, ASTM STP 1314, R.J.
    Kudder and J.L. Erdley, Eds., ASTM, 1998.

    Smith, William D., Beers, Paul E., “Evaluation of Water Resistance Testing Problems for
    Installed Facade Systems,” Water Leakage Through Building Facades, ASTM STP 1314, R.J.
    Kudder and J.L. Erdley, Eds., ASTM, 1998.

    Beers, Paul E., “Security Glazing” The Construction Specifier, October 1997.

    Beers, Paul E., “Looking Back – The Impact of Building Code Changes for Windborne Debris in
    Hurricane Prone Areas,” NCSBCS/NIST Joint Technical and Research Conference, September
    1997.

    Beers, Paul E., “Batten Down the Hatches” Glass Magazine, February 1997.




                                                  St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000047
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 74 of
                                      400

             GCI CONSULTANTS, LLC
   St. Louis Condominium
   September 18, 2018

   Beers, Paul E., “Windborne Debris Standards Adopted,” Glass Magazine, February 1995.

   Beers, Paul E., “Designing Hurricane Resistant Glazing,” Progressive Architecture, September
   1993.

   Beers, Paul E., “The Lasting Effects of Hurricane Andrew,” Glass Magazine, April 1993.
   Beers, Paul E., “Wind Does Not Break Window Glass,” Progressive Architecture, April 1992.

   Beers, Paul E., “Door Sill Detailing,” Progressive Architecture, August 1991.

   Beers, Paul E., “Field Testing Windows for Water Leakage,” USGlass, Metal & Glazing, August
   1990.

   Beers, Paul E., “Preventing Water Leakage Through Windows,” SunCoast Architect/Builder, June
   1990.




                                                   St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000048
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 75 of
                                      400

             GCI CONSULTANTS, LLC
   St. Louis Condominium
   September 18, 2018

   PRESENTATIONS

    “Building Envelope Risk Management,” Glass & Metal Symposium, Miami, FL, April 24, 2015

    “Assessing Curtain Walls – Considerations and Best Practices,” National Academy of Building
    Inspection Engineers 2015 Annual Conference, Atlanta, Georgia, February 22, 2015

    “Designing Building Envelopes for Hurricanes,” Zurich Winds of Change, Charlotte, NC,
    September 24, 2014

    “Building Envelopes and Hurricanes,” Construction Real Estate Women (CREW), Miami, FL,
    August 22, 2012

    “Designing Building Envelopes for Hurricanes,” Risk and Insurance Management Society, Inc.
    (RIMS) 2011 Florida Chapters 36th Annual Joint Educational Conference, Naples, FL, August 3,
    2011

    "Wind Risk Assessments for Cladding and Glazing Systems in Critical Facilities," ASCE 2011
    Structures Congress, Las Vegas, NV, April 14, 2011.

    “Designing The Building Envelope for Disasters,” part of “Hurricanes, Seismic, Bomb Blasts,
    The Building Envelope and More,” presentation for Zurich Insurance Risk Engineering, Palm
    Beach Shores, FL, March 21, 2011

    “Glazing Issues, Water Infiltration and Energy,” CSI Chapter Meeting, Miami, FL, April 20,
    2010.

    “Glazing Design Criteria for Windborne Debris,” Designing for Windborne Debris, CGI
    Architectural Symposium, Bonita Springs, FL, November 16, 2007.

    “Field Water Testing,” Pella 2007 Regional Service Training, Tucson, AZ, February 21, 2007.
    (Note – this program was repeated in Columbia, SC, Greensboro, NC, Murray, KY, Gettysburg,
    PA, and Fairfield, OH in March and April 2007).

    “Water Infiltration Issues Following the Hurricanes of 2004,” WCI Communities Tower Division
    Meeting, Bonita Springs, FL, October 6, 2004.

    “Water Leakage – Addressing the Tough Issues,” Pella 2003 Commercial Sales Meeting, Pella,
    IA, February 14, 2003.

   “Water Intrusion and Mold,” Thompson, Ventulett, Stainback and Associates, Atlanta, GA,
   January 27, 2003.




                                                 St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000049
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 76 of
                                      400

             GCI CONSULTANTS, LLC
   St. Louis Condominium
   September 18, 2018

   “Mold Roundtable,” National Multifamily Housing Council, La Quinta, California, January 16,
   2003.

   “Common Water Problems in Buildings,” Solving Water Intrusion and Mold Problems in Florida,
   Sarasota, FL, November 14, 2002.

   “Common Water Problems in Buildings,” Solving Water Intrusion and Mold Problems in Florida,
   Tampa, FL, September 19, 2002.

   “Common Water Problems in Buildings,” and “New Construction Quality Control,” R. J. Griffin
   & Company Project Mangers Seminar, Atlanta, GA, August 23, 2002.

   “Water Leakage and Windows – Addressing the Tough Issues,” Denver, CO and Chicago, IL,
   August 6-8, 2002.

   “Water Leakage and Windows – Addressing the Tough Issues,” Cincinnati, OH and Albany, NY,
   June 4-6, 2002.

   “Common Water Problems in Buildings,” Solving Water Intrusion and Mold Problems in Florida,
   Ft. Lauderdale, FL, May 29, 2002.

   “Retrofitting Commercial Glazing Systems with Laminated Glass,” ASTM Symposium on Glass
   in Buildings, Pittsburgh, PA, April 14, 2002.

   “Water Leakage and Windows – Addressing the Tough Issues,” Kansas City, MO and
   Minneapolis, MN, February 2002.

   “Florida Building Code Briefing,” Southeast Glass Association, Orlando, FL, August 11, 2001.
   “Building Envelope Quality Control,” Bovis Lend Lease Project Managers Meeting, Charlotte,
   NC, May 4, 2001.

   “Building Code Briefing – Wind and Water,” National Glass Show, Miami Beach, FL, March 14
   and 15, 2001.

   “Retrofitting Existing Windows and Doors for Hurricane Protection,” National Hurricane
   Conference, New Orleans, LA, April 20, 2000.

   “Codes and Standards Update,” Glass Association of North America Glass Week, Orlando, FL,
   January 30, 2000.

   “Exterior Insulation and Finish Systems Refresher,” Pella Dealer Service Training Seminar, Pella,
   IA, September 21, 1999. (The program was repeated October 19, 1999.)




                                                   St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000050
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 77 of
                                      400

             GCI CONSULTANTS, LLC
   St. Louis Condominium
   September 18, 2018

   “Water Management,” Pella Dealer Service Training Seminar, Pella, IA, September 21, 1999. (The
   program was repeated October 19, 1999.)

   “Codes and Standards – Review of the Current Status of Codes and Standards Activities Including
   ASCE Standard 7, SBCCI’s Code Provisions, Proposals for New International Building Code,
   Dade and Broward County Florida Codes, ASTM and others,” BETEC Symposium on Security
   Glazing, Impact Resistant Windows and Systems, and Thermal Performance Atlanta, GA, April
   7, 1999.

   “Codes, Standards, Tests & Design for Glazing Hurricane Protection,” Colegio de Arquitectos de
   Puerto Rico (College of Architects of Puerto Rico), San Juan, Puerto Rico, February 25, 1999.

   “Got Codes? – An Update on Codes and Standards Activities,” 3rd National Contract Glazing
   Conference, Dallas, TX, November 2, 1998.

   “Retrofitting Commercial Glazing Systems,” Annual Congress of The Institute for Business and
   Home Safety, Orlando, FL, October 22 and 23, 1998.

   “Quality Control for Glazing Systems,” McDevitt Street Bovis Company Meeting, Charlotte, NC,
   September 25, 1998.

   “Exterior Insulation and Finish Systems,” Pella Dealer Service Training Seminar, Pella, IA,
   September 23, 1998. (The program was repeated October 14, 1998.)

   “Problem Construction Practices,” Pella Dealer Service Training Seminar, Pella, IA, September
   23, 1998. (The program was repeated October 14, 1998.)

   “Windows, Doors and Skylights,” Marriott South Central Region Engineers Conference, Point
   Clear, AL, August 31, 1998.

   “Glazing Codes and Standards,” Southeast Glass Expo ’98, Ft. Lauderdale, FL, August 7, 1998.
   “Hurricane Glazing Systems,” Cayman Architects and Engineers Society, Grand Cayman,
   Cayman Islands, British West Indies, July 8, 1998.

   “Risky Houses,” National Press Club, Washington, DC, June 16, 1998.

   “Codes and Standards – Review of the Current Status of Codes and Standards Activities Including
   ASCE Standard 7, SBCCI’s Code Provisions, Proposals for New International Building Code,
   Dade and Broward County Florida Codes, ASTM and others,” BETEC

   Symposium on Security Glazing, Impact Resistant Windows and Systems, and Thermal
   Performance Washington, DC, June 10, 1998.




                                                  St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000051
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 78 of
                                      400

             GCI CONSULTANTS, LLC
   St. Louis Condominium
   September 18, 2018

   “Evaluation of Windows and Sliding Glass Door Assemblies Installed in New Construction
   Projects,” ASTM Symposium on Water Problems in Building Exterior Walls: Evaluation,
   Prevention, and Repair, Atlanta, GA, April 18 and 19, 1998.

   “Standards and Code Provisions for the Design of Non-Structural Components of Buildings,”
   Design of Non-Structural Components of Buildings (Session F-4, Engineering), National
   Hurricane Conference, Norfolk, VA, April 9, 1998.

   “Retrofitting Commercial Structures”, IBHS Retrofit Committee, Phoenix, AZ, January 14, 1998.
   “Looking Back – The Impact of Building Code Changes for Windborne Debris in Hurricane Prone
   Areas,” NCSBCS/NIST Joint Technical & Research Conference, Reston, VA, September 4, 1997.

   “Laminated Glass and the South Florida Building Code,” University of Miami School of
   Architecture, Miami, FL, January 24, 1997.

   “Curtain Wall Glazing Systems,” McDevitt Street Bovis Company Seminar, Charlotte, NC, April
   11, 1996.

   “Repair Methods For Common Window Leaks at Operable Windows and Sliding Glass Doors,”
   ASTM Symposium on Water Leakage Through Building Facades, Orlando, FL, March 17, 1996.

   “New Hurricane Glazing Codes and Fenestration & Energy Codes,” Southeast Glass Expo ’96,
   Orlando, FL, March 2, 1996.

   "Missile Impact Demonstration,” SBCCI Yearly Conference, Nashville, TN, November 6-9, 1994.

   "Complying with Missile Impact Requirements Of The South Florida Building Code,” AIA/CSI
   Product Fair, Ft. Lauderdale, FL, September 28, 1994.

   "Designing for Windborne Debris,” CSI, Miami, FL, September 19, 1994.

   "Changes to The South Florida Building Code,” Panel Member at CSI Roundtable Discussion,
   Miami, FL, August 12, 1994.

   "Evaluating Storm Shutters & Other Forms of Opening Protection for Use in Hurricane Prone
   Areas,” Florida Department of Insurance, Tallahassee, FL, August 10, 1994.

   "Understanding the New South Florida Building Code Missile Impact Requirements,” Dade
   County AIA/CSI Product Fair, Miami, FL, April 19, 1994.

   "Hurricane Glazing Workshop,” Palm Beach County AIA/CSI Product Fair, West Palm Beach,
   FL, February 7, 1994.




                                                 St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000052
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 79 of
                                      400

             GCI CONSULTANTS, LLC
   St. Louis Condominium
   September 18, 2018

   "Missile Impact Code Update,” ASTM Missile Impact Working Group Meeting, New Orleans,
   LA, January 12, 1994.

   "Hurricane Glazing,” Laminated Safety Glass Association/ Glass Tempering Association
   Summer Meeting, Snowmass, CO, August 27, 1993.

   "Engineering the Building Envelope for Hurricane Effects,” Metro Dade Building Code
   Evaluation Task Force, Miami, FL, October 21, 1992.




                                                St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000053
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 80 of
                                      400

             GCI CONSULTANTS, LLC
   St. Louis Condominium
   September 18, 2018



                        ATTACHMENT II
                                 Inspection Protocol




                                          St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000054
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 81 of
                                      400

             GCI CONSULTANTS, LLC
   St. Louis Condominium
   September 18, 2018

   Inspection Protocol


       x   Confirm the proper unit number is on the floor plan.
               o If it is not correct, make a note on the floor plan.

       x   Confirm floor plan layout is correct.
               o Make note on floor plan of any changes.

       x   Make damage observations by going through the entire damages checklist.

       x   For any noted damages, drag appropriate keynote onto plan and capture photos from within
           the keynote to depict it as best as possible.

       x   After taking each photo, examine it to confirm clarity.
               o If the photo is blurry or otherwise less than perfect, delete it and retake.

       x   Download inspection data to GCI server midday and upon completion of daily inspection.




   .




                                                     St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000055
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 82 of
                                      400

             GCI CONSULTANTS, LLC
   St. Louis Condominium
   September 18, 2018



                        ATTACHMENT III
                                Site Inspection Data




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000056
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 83 of
                                      400

             GCI CONSULTANTS, LLC
   St. Louis Condominium
   September 18, 2018



                        ATTACHMENT IV
                                    Data Spreadsheet




                                           St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000057
                                                                                                                                 7



                                                                                            9



                                                                                                                                                                    4                            2




                                                                                                                                                                                                                                                                                     S    OU S
                                                                                                                                                                                                                                                                                  CONDOM NIUM
                                                                                                                                                                                                                                                                               800 Cl ugh on Is and D
                                                                                            2                                                                                                                                                                                     M ami     33 3




                                                                                                                                                                                                                                                                               W NDS ORM DAMAGE
                                                                                                                                                                                                                                                                                   NS EC ION
                                                                                                                                                                                                                                                                                                                                         400




                                                                                                             2nd Floor
                                                                                                           UNDERGROUND




                                                                                                                                                                                                                                                                                     RE OR No

                                                                                                                                                                                                                                                                                       63 5 0




                                                                                                                                                          SI E PLAN




St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000058
                                                                                                                                                                                                                                                                                    4 H    OOR
                                                                        NO E H S DOCUMEN CON INS D N MIC NO ES AND CA URED IMAG S WH CH C N BE V EWED B HOVER NG OVER HE NO E OR C I KING HE HO O MAGE                                       OR HIS UNC IONA I   DOWN O D HE
                                                                                                                                                                                                                                                                                                   Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 84 of




                                                                         REE B UEB AM V EWER A h tp www b ueb am com us p o uc s e - i we
                                                                         opy gh © 0 7 GC Con u ta ts   C   h s do ume t s t e   o k p du t o GC Con u t n s   C and c nn t be c p ed o ep duc d wi h ut he e p es ed w i en co se t o   CI Co su an s   C
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 85 of
                                      400




                                                                                                                01
                                                                                                                              Assembly Type Window Wall
                                                                                                                UNDERGROUND




                                        St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000059
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 86 of
                                      400




                                                                                                                02
                                                                                                                              Assembly Type Window Wall
                                                                                                                UNDERGROUND




                                        St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000060
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 87 of
                                      400




                                                                                                                03
                                                                                                                              Assembly Type Double Swing Door with Sidelites
                                                                                                                UNDERGROUND




                                        St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000061
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 88 of
                                      400




                                                                                                                04
                                                                                                                              Assembly Type Window Wall
                                                                                                                UNDERGROUND




                                        St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000062
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 89 of
                                      400




                                                                                                                05
                                                                                                                              Assembly Type Window Wall
                                                                                                                UNDERGROUND




                                        St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000063
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 90 of
                                      400




                                                                                                                06
                                                                                                                              Assembly Type Swing Door
                                                                                                                UNDERGROUND




                                        St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000064
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 91 of
                                      400




                                                                                                                07
                                                                                                                              Assembly Type Two Frame Fixed Window
                                                                                                                UNDERGROUND




                                        St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000065
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 92 of
                                      400




                                                                                                                08
                                                                                                                              Assembly Type Two Frame Fixed Window
                                                                                                                UNDERGROUND




                                        St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000066
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 93 of
                                      400




                                                                                                                09
                                                                                                                              Assembly Type Circle Fixed Window
                                                                                                                UNDERGROUND




                                        St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000067
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 94 of
                                      400




                                                                                                                10
                                                                                                                              Assembly Type Circle Fixed Window
                                                                                                                UNDERGROUND




                                        St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000068
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 95 of
                                      400




                                                                                                                11
                                                                                                                              Assembly Type Circle Fixed Window
                                                                                                                UNDERGROUND




                                        St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000069
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 96 of
                                      400




                                                                                                                12
                                                                                                                              Assembly Type Circle Fixed Window
                                                                                                                UNDERGROUND




                                        St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000070
  Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 97 of
                                        400

2nd Floor - UNDERGROUND.pdf Capture Summary

     Frame Joint Damage

                           Page: Opening 01
                          Space: 2nd Floor - UNDERGROUN...



Comments:

Frame Joint Damage




                                                                                              FJD (1 of 1)




      Water Damage
                           Page: Opening 01
                          Space: 2nd Floor - UNDERGROUN...



Comments:

Water Damage




                                                                                              WD (1 of 1)




      Water Damage

                           Page: Opening 01
                          Space: 2nd Floor - UNDERGROUN...
         01




Comments:

Water Damage




                                                                                              WD (1 of 1)


                                                             St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000071
    Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 98 of
                                          400

2nd Floor - UNDERGROUND.pdf Capture Summary

       Water Damage

                             Page: Opening 01
                            Space: 2nd Floor - UNDERGROUN...
NDERGROUND




Comments:

Water Damage




                                                                                                WD (1 of 1)




             Water Damage

                             Page: Opening 01
                            Space: 2nd Floor - UNDERGROUN...



Comments:

Water Damage




                                                                                                WD (1 of 1)




       Water Damage          Page: Opening 01
                            Space: 2nd Floor - UNDERGROUN...



Comments:

Water Damage




                                                                                                WD (1 of 1)


                                                               St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000072
  Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 99 of
                                        400

2nd Floor - UNDERGROUND.pdf Capture Summary


    Frame Joint Damage
                              Page: Opening 02
                             Space: 2nd Floor - UNDERGROUN...



Comments:

Frame Joint Damage




                                                                                                 FJD (1 of 1)




        Frame Joint Damage
                              Page: Opening 02
                             Space: 2nd Floor - UNDERGROUN...



Comments:

Frame Joint Damage




                                                                                                 FJD (1 of 1)




    Damaged Glass Stop
                              Page: Opening 03
                             Space: 2nd Floor - UNDERGROUN...



Comments:

Damaged Glass Stop




                                                                                                  GS (1 of 1)


                                                                St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000073
 Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 100 of
                                       400

2nd Floor - UNDERGROUND.pdf Capture Summary

           Frame Joint Damage


                                 Page: Opening 03
                                Space: 2nd Floor - UNDERGROUN...
   03




Comments:

Frame Joint Damage




                                                                                                    FJD (1 of 1)




        Frame Joint Damage
                                 Page: Opening 04
                                Space: 2nd Floor - UNDERGROUN...



Comments:

Frame Joint Damage




                                                                                                    FJD (1 of 1)




           Frame Joint Damage
                                 Page: Opening 04
                                Space: 2nd Floor - UNDERGROUN...



Comments:

Frame Joint Damage




                                                                                                    FJD (1 of 1)


                                                                   St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000074
 Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 101 of
                                       400

2nd Floor - UNDERGROUND.pdf Capture Summary


    Frame Joint Damage
                             Page: Opening 05
                            Space: 2nd Floor - UNDERGROUN...



Comments:

Frame Joint Damage




                                                                                                FJD (1 of 1)




       Frame Jo nt Damage

                             Page: Opening 05
                            Space: 2nd Floor - UNDERGROUN...



Comments:

Frame Joint Damage




                                                                                                FJD (1 of 1)




         Water Damage

                             Page: Opening 05
                            Space: 2nd Floor - UNDERGROUN...
            05




Comments:

Water Damage




                                                                                                WD (1 of 1)


                                                               St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000075
 Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 102 of
                                       400

2nd Floor - UNDERGROUND.pdf Capture Summary

     Frame Movement

                       Page: Opening 06
                      Space: 2nd Floor - UNDERGROUN...



Comments:

Frame Movement




                                                                                           FM (1 of 1)




     Frame Movement

                       Page: Opening 06
                      Space: 2nd Floor - UNDERGROUN...



Comments:

Frame Movement




                                                                                           FM (1 of 1)




     Frame Movement

                       Page: Opening 06
                      Space: 2nd Floor - UNDERGROUN...



Comments:

Frame Movement




                                                                                           FM (1 of 1)


                                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000076
 Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 103 of
                                       400

2nd Floor - UNDERGROUND.pdf Capture Summary

    Frame Movement

                      Page: Opening 06
                     Space: 2nd Floor - UNDERGROUN...



Comments:

Frame Movement




                                                                                          FM (1 of 1)




    Frame Movement

                      Page: Opening 06
                     Space: 2nd Floor - UNDERGROUN...



Comments:

Frame Movement




                                                                                          FM (1 of 1)




    Frame Movement

                      Page: Opening 06
                     Space: 2nd Floor - UNDERGROUN...



Comments:

Frame Movement




                                                                                          FM (1 of 1)


                                                        St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000077
 Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 104 of
                                       400

2nd Floor - UNDERGROUND.pdf Capture Summary

       Water Damage

                            Page: Opening 07
                           Space: 2nd Floor - UNDERGROUN...



Comments:

Water Damage




                                                                                               WD (1 of 1)




                            Page: Opening 07
      Frame Joint Damage



                           Space: 2nd Floor - UNDERGROUN...



Comments:

Frame Joint Damage




                                                                                               FJD (1 of 1)




       Water Damage
                            Page: Opening 07
                           Space: 2nd Floor - UNDERGROUN...



Comments:

Water Damage




                                                                                               WD (1 of 1)


                                                              St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000078
 Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 105 of
                                       400

2nd Floor - UNDERGROUND.pdf Capture Summary

    Frame Movement

                      Page: Opening 07
                     Space: 2nd Floor - UNDERGROUN...



Comments:

Frame Movement




                                                                                          FM (1 of 1)




    Water Damage

                      Page: Opening 08
                     Space: 2nd Floor - UNDERGROUN...



Comments:

Water Damage




                                                                                         WD (1 of 1)




    Water Damage
                      Page: Opening 08
                     Space: 2nd Floor - UNDERGROUN...



Comments:

Water Damage




                                                                                         WD (1 of 1)


                                                        St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000079
 Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 106 of
                                       400

2nd Floor - UNDERGROUND.pdf Capture Summary


      Water Damage
                      Page: Opening 08
                     Space: 2nd Floor - UNDERGROUN...



Comments:

Water Damage




                                                                                         WD (1 of 1)




      Water Damage
                      Page: Opening 08
                     Space: 2nd Floor - UNDERGROUN...



Comments:

Water Damage




                                                                                         WD (1 of 1)




      Water Damage

                      Page: Opening 08
                     Space: 2nd Floor - UNDERGROUN...



Comments:

Water Damage




                                                                                         WD (1 of 1)


                                                        St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000080
 Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 107 of
                                       400

2nd Floor - UNDERGROUND.pdf Capture Summary

    Service and Clean



                         Page: Opening 10
                        Space: 2nd Floor - UNDERGROUN...



Comments:

Service and Clean




                                                                                             SC (1 of 1)



    Service and C ean




                         Page: Opening 11
                        Space: 2nd Floor - UNDERGROUN...



Comments:

Service and Clean




                                                                                             SC (1 of 1)




    Serv ce and C ean
                         Page: Opening 12
                        Space: 2nd Floor - UNDERGROUN...



Comments:

Service and Clean




                                                                                             SC (1 of 1)


                                                           St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000081
                                                                          Page Label   Page Index                                   Space                                         Comments         Recommendations
                                                                        Opening 01         2        2nd Floor - UNDERGROUND - Opening 01 - Window Wall                        Water Damage             Replace
                                                                        Opening 01         2        2nd Floor - UNDERGROUND - Opening 01 - Window Wall                        Water Damage             Replace
                                                                        Opening 01         2        2nd Floor - UNDERGROUND - Opening 01 - Window Wall                        Water Damage             Replace
                                                                        Opening 01         2        2nd Floor - UNDERGROUND - Opening 01 - Window Wall                        Water Damage             Replace
                                                                        Opening 01         2        2nd Floor - UNDERGROUND - Opening 01 - Window Wall                        Frame Joint Damage       Replace
                                                                        Opening 01         2        2nd Floor - UNDERGROUND - Opening 01 - Window Wall                        Water Damage             Replace
                                                                        Opening 02         3        2nd Floor - UNDERGROUND - Opening 02 - Window Wall                        Frame Joint Damage       Replace
                                                                        Opening 02         3        2nd Floor - UNDERGROUND - Opening 02 - Window Wall                        Frame Joint Damage       Replace
                                                                        Opening 03         4        2nd Floor - UNDERGROUND - Opening 03 - Double Swing Door with Sidelites   Damaged Glass Stop       Replace
                                                                        Opening 03         4        2nd Floor - UNDERGROUND - Opening 03 - Double Swing Door with Sidelites   Frame Joint Damage       Replace
                                                                        Opening 04         5        2nd Floor - UNDERGROUND - Opening 04 - Window Wall                        Frame Joint Damage       Replace
                                                                        Opening 04         5        2nd Floor - UNDERGROUND - Opening 04 - Window Wall                        Frame Joint Damage       Replace
                                                                                                                                                                                                                                                           400




                                                                        Opening 05         6        2nd Floor - UNDERGROUND - Opening 05 - Window Wall                        Frame Joint Damage       Replace
                                                                        Opening 05         6        2nd Floor - UNDERGROUND - Opening 05 - Window Wall                        Water Damage             Replace
                                                                        Opening 05         6        2nd Floor - UNDERGROUND - Opening 05 - Window Wall                        Frame Joint Damage       Replace
                                                                        Opening 06         7        2nd Floor - UNDERGROUND - Opening 06 - Swing Door                         Frame Movement           Replace
                                                                        Opening 06         7        2nd Floor - UNDERGROUND - Opening 06 - Swing Door                         Frame Movement           Replace
                                                                        Opening 06         7        2nd Floor - UNDERGROUND - Opening 06 - Swing Door                         Frame Movement           Replace
                                                                        Opening 06         7        2nd Floor - UNDERGROUND - Opening 06 - Swing Door                         Frame Movement           Replace
                                                                        Opening 06         7        2nd Floor - UNDERGROUND - Opening 06 - Swing Door                         Frame Movement           Replace
                                                                        Opening 06         7        2nd Floor - UNDERGROUND - Opening 06 - Swing Door                         Frame Movement           Replace
                                                                        Opening 07         8        2nd Floor - UNDERGROUND - Opening 07 - Two Frame Fixed Window             Frame Movement           Replace
                                                                        Opening 07         8        2nd Floor - UNDERGROUND - Opening 07 - Two Frame Fixed Window             Water Damage             Replace
                                                                        Opening 07         8        2nd Floor - UNDERGROUND - Opening 07 - Two Frame Fixed Window             Water Damage             Replace
                                                                        Opening 07         8        2nd Floor - UNDERGROUND - Opening 07 - Two Frame Fixed Window             Frame Joint Damage       Replace
                                                                        Opening 08         9        2nd Floor - UNDERGROUND - Opening 08 - Two Frame Fixed Window             Water Damage             Replace
                                                                        Opening 08         9        2nd Floor - UNDERGROUND - Opening 08 - Two Frame Fixed Window             Water Damage             Replace




St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000082
                                                                        Opening 08         9        2nd Floor - UNDERGROUND - Opening 08 - Two Frame Fixed Window             Water Damage             Replace
                                                                                                                                                                                                                     Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 108 of
                                                                          Page Label   Page Index                                   Space                                 Comments      Recommendations
                                                                        Opening 08          9       2nd Floor - UNDERGROUND - Opening 08 - Two Frame Fixed Window   Water Damage            Replace
                                                                        Opening 08          9       2nd Floor - UNDERGROUND - Opening 08 - Two Frame Fixed Window   Water Damage            Replace
                                                                        Opening 09         10       2nd Floor - UNDERGROUND - Opening 09 - Circle Fixed Window      Service and Clean
                                                                        Opening 10         11       2nd Floor - UNDERGROUND - Opening 10 - Circle Fixed Window      Service and Clean
                                                                        Opening 11         12       2nd Floor - UNDERGROUND - Opening 11 - Circle Fixed Window      Service and Clean
                                                                        Opening 12         13       2nd Floor - UNDERGROUND - Opening 12 - Circle Fixed Window      Service and Clean
                                                                                                                                                                                                                                                400




St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000083
                                                                                                                                                                                                          Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 109 of
                                                                                                                          2                                                                                                                     4
                                                                                                                                                                       INACCESSIBLE




                                                                                                                                                                                                                                                                                     S    OU S
                                                                                                                                                                                                                                                                      2           CONDOMIN UM
                                                                                                                                                                                                                                                                               800 Cl ugh on Is and D
                                                                                                                                                                                                                                                                                  M ami     33 3


                                                                                                                                                                                                                                   7
                                                                                                                                       4
                                                                                                                                                                                                                                                    9



                                                                                                                                                                                                                                                                               W NDS ORM DAMAGE
                                                                                                                                                                                                                                                                                   NS EC ION
                                                                                                                                                                                                                                                                                                                                         400




                                                                                                                 MAIN EN RANCE




                                                                                                                                                                                                                                                                                     RE OR No

                                                                                                                                                                                                                                                                                       63 5 0




                                                                                                                                                          SI E PLAN




St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000084
                                                                                                                                                                                                                                                                                    4 H    OOR
                                                                        NO E H S DOCUMEN CON INS D N MIC NO ES AND CA URED IMAG S WH CH C N BE V EWED B HOVER NG OVER HE NO E OR C I KING HE HO O MAGE                                       OR HIS UNC IONA I   DOWN O D HE
                                                                         REE B UEB AM V EWER A h tp www b ueb am com us p o uc s e - i we
                                                                                                                                                                                                                                                                                                   Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 110 of




                                                                         opy gh © 0 7 GC Con u ta ts   C   h s do ume t s t e   o k p du t o GC Con u t n s   C and c nn t be c p ed o ep duc d wi h ut he e p es ed w i en co se t o   CI Co su an s   C
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 111 of
                                      400




                                                                                                                 01
                                                                                                                                 Assembly Type Window Wall
                                                                                                                 MAIN ENTRANCE




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000085
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 112 of
                                      400




                                                                                                                 02
                                                                                                                                 Assembly Type Window Wall
                                                                                                                 MAIN ENTRANCE




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000086
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 113 of
                                      400




                                                                                                                 03
                                                                                                                                 Assembly Type Swing Door
                                                                                                                 MAIN ENTRANCE




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000087
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 114 of
                                      400




                                                                                                                 04
                                                                                                                                 Assembly Type Double Swing Door
                                                                                                                 MAIN ENTRANCE




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000088
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 115 of
                                      400




                                                                                                                 05
                                                                                                                                 Assembly Type Swing Door
                                                                                                                 MAIN ENTRANCE




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000089
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 116 of
                                      400




                                                                                                                 06
                                                                                                                                 Assembly Type Two Frame Window Wall
                                                                                                                 MAIN ENTRANCE




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000090
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 117 of
                                      400




                                                                                                                 07
                                                                                                                                 Assembly Type Window Wall
                                                                                                                 MAIN ENTRANCE




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000091
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 118 of
                                      400




                                                                                                                 08
                                                                                                                                 Assembly Type Swing Door
                                                                                                                 MAIN ENTRANCE




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000092
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 119 of
                                      400




                                                                                                                 09
                                                                                                                                 Assembly Type Double Swing Door
                                                                                                                 MAIN ENTRANCE




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000093
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 120 of
                                      400




                                                                                                                 10
                                                                                                                                 Assembly Type Swing Door
                                                                                                                 MAIN ENTRANCE




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000094
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 121 of
                                      400




                                                                                                                 11
                                                                                                                                 Assembly Type Window Wall
                                                                                                                 MAIN ENTRANCE




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000095
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 122 of
                                      400




                                                                                                                 12
                                                                                                                                 Assembly Type Window Wall
                                                                                                                 MAIN ENTRANCE




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000096
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 123 of
                                      400




                                                                                                                 13
                                                                                                                                 Assembly Type Window Wall
                                                                                                                 MAIN ENTRANCE




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000097
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 124 of
                                      400




                                                                                                                 14
                                                                                                                                 Assembly Type Window Wall
                                                                                                                 MAIN ENTRANCE




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000098
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 125 of
                                      400




                                                                                                                 15
                                                                                                                                 Assembly Type Window Wall
                                                                                                                 MAIN ENTRANCE




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000099
   Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 126 of
                                         400

3rd Floor - MAIN ENTRANCE.pdf Capture Summary

               Water Damage

                               Page: Opening 01
                              Space: 3rd Floor - MAIN ENTRANC...
                   01




Comments:

Water Damage




                                                                                                    WD (1 of 1)



           Water Damage

                               Page: Opening 01
                              Space: 3rd Floor - MAIN ENTRANC...
ENTRANCE
    Wi      W ll



Comments:

Water Damage




                                                                                                    WD (1 of 1)




               Water Damage

                               Page: Opening 02
                              Space: 3rd Floor - MAIN ENTRANC...
                   02




Comments:

Water Damage




                                                                                                    WD (1 of 1)


                                                                   St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000100
 Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 127 of
                                       400

3rd Floor - MAIN ENTRANCE.pdf Capture Summary

    Water Damage

                               Page: Opening 02
                              Space: 3rd Floor - MAIN ENTRANC...



Comments:

Water Damage




                                                                                                    WD (1 of 1)




      Damaged Glass Stop
                               Page: Opening 04
                              Space: 3rd Floor - MAIN ENTRANC...



Comments:

Damaged Glass Stop




                                                                                                     GS (1 of 1)




         Damaged Glass Stop


                               Page: Opening 04
                              Space: 3rd Floor - MAIN ENTRANC...



Comments:

Damaged Glass Stop




                                                                                                     GS (1 of 1)


                                                                   St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000101
    Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 128 of
                                          400

3rd Floor - MAIN ENTRANCE.pdf Capture Summary

              Water Damage

                              Page: Opening 12
                             Space: 3rd Floor - MAIN ENTRANC...
                    12




Comments:

 Water Damage




                                                                                                   WD (1 of 1)




          Water Damage

                              Page: Opening 12
                             Space: 3rd Floor - MAIN ENTRANC...
ENTRANCE




Comments:

 Water Damage




                                                                                                   WD (1 of 1)




          Water Damage

                              Page: Opening 13
                             Space: 3rd Floor - MAIN ENTRANC...
N ENTRANCE
Type: Window Wall



Comments:

 Water Damage




                                                                                                   WD (1 of 1)


                                                                  St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000102
   Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 129 of
                                         400

3rd Floor - MAIN ENTRANCE.pdf Capture Summary

                 Water Damage

                                 Page: Opening 13
                                Space: 3rd Floor - MAIN ENTRANC...
                   13




Comments:

Water Damage




                                                                                                      WD (1 of 1)




          Water Damage

                                 Page: Opening 14
                                Space: 3rd Floor - MAIN ENTRANC...
NTRANCE
   Window Wall



Comments:

Water Damage




                                                                                                      WD (1 of 1)




                 Water Damage

                                 Page: Opening 14
                                Space: 3rd Floor - MAIN ENTRANC...
                   14




Comments:

Water Damage




                                                                                                      WD (1 of 1)


                                                                     St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000103
   Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 130 of
                                         400

3rd Floor - MAIN ENTRANCE.pdf Capture Summary

           Frame Joint Damage


                                 Page: Opening 14
                                Space: 3rd Floor - MAIN ENTRANC...



Comments:

 Frame Joint Damage




                                                                                                      FJD (1 of 1)




           Water Damage

                                 Page: Opening 15
                                Space: 3rd Floor - MAIN ENTRANC...
ENTRANCE




Comments:

 Water Damage




                                                                                                      WD (1 of 1)




                                                                     St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000104
                                                                          Page Label   Page Index                                 Space                                    Comments       Recommendations
                                                                        Opening 01          2       3rd Floor - MAIN ENTRANCE - Opening 01 - Window Wall             Water Damage             Replace
                                                                        Opening 01          2       3rd Floor - MAIN ENTRANCE - Opening 01 - Window Wall             Water Damage             Replace
                                                                        Opening 02          3       3rd Floor - MAIN ENTRANCE - Opening 02 - Window Wall             Water Damage             Replace
                                                                        Opening 02          3       3rd Floor - MAIN ENTRANCE - Opening 02 - Window Wall             Water Damage             Replace
                                                                        Opening 03          4       3rd Floor - MAIN ENTRANCE - Opening 03 - Swing Door              Service and Clean
                                                                        Opening 04          5       3rd Floor - MAIN ENTRANCE - Opening 04 - Double Swing Door       Damaged Glass Stop       Replace
                                                                        Opening 04          5       3rd Floor - MAIN ENTRANCE - Opening 04 - Double Swing Door       Damaged Glass Stop       Replace
                                                                        Opening 05          6       3rd Floor - MAIN ENTRANCE - Opening 05 - Swing Door              Service and Clean
                                                                        Opening 06          7       3rd Floor - MAIN ENTRANCE - Opening 06 - Two Frame Window Wall   Service and Clean
                                                                        Opening 07          8       3rd Floor - MAIN ENTRANCE - Opening 07 - Window Wall             Service and Clean
                                                                        Opening 08          9       3rd Floor - MAIN ENTRANCE - Opening 08 - Swing Door              Service and Clean
                                                                        Opening 09         10       3rd Floor - MAIN ENTRANCE - Opening 09 - Double Swing Door       Service and Clean
                                                                                                                                                                                                                                                  400




                                                                        Opening 10         11       3rd Floor - MAIN ENTRANCE - Opening 10 - Swing Door              Service and Clean
                                                                        Opening 11         12       3rd Floor - MAIN ENTRANCE - Opening 11 - Window Wall             Service and Clean
                                                                        Opening 12         13       3rd Floor - MAIN ENTRANCE - Opening 12 - Window Wall             Water Damage             Replace
                                                                        Opening 12         13       3rd Floor - MAIN ENTRANCE - Opening 12 - Window Wall             Water Damage             Replace
                                                                        Opening 13         14       3rd Floor - MAIN ENTRANCE - Opening 13 - Window Wall             Water Damage             Replace
                                                                        Opening 13         14       3rd Floor - MAIN ENTRANCE - Opening 13 - Window Wall             Water Damage             Replace
                                                                        Opening 13         14       3rd Floor - MAIN ENTRANCE - Opening 13 - Window Wall             Frame Joint Damage       Replace
                                                                        Opening 14         15       3rd Floor - MAIN ENTRANCE - Opening 14 - Window Wall             Frame Joint Damage       Replace
                                                                        Opening 14         15       3rd Floor - MAIN ENTRANCE - Opening 14 - Window Wall             Water Damage             Replace
                                                                        Opening 14         15       3rd Floor - MAIN ENTRANCE - Opening 14 - Window Wall             Water Damage             Replace
                                                                        Opening 15         16       3rd Floor - MAIN ENTRANCE - Opening 15 - Window Wall             Water Damage             Replace




St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000105
                                                                                                                                                                                                            Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 131 of
                                                                                                                                                                                                                                                                                     S    OU S
                                                                                                                                                                                                                                                                                  CONDOM NIUM
                                                                                                                                                                                                                                                                               800 Cl ugh on Is and D
                                                                                                                                                                                                                                                                                  M ami     33 3




                                                                                                                                                                                                                                                                               W NDS ORM DAMAGE
                                                                                                                                                                                                                                                                                   NS EC ION
                                                                                  SI E PLAN
                                                                                                                                                                                                                                                                                                                                         400




                                                                                                                                                                                                                                                                                     RE OR No
                                                                                                                                                                                                                        1
                                                                                                                                                                                                                                                                                       63 5 0




                                                                                                 BUILDING                                                                                              ELEVA OR'S AREA
                                                                                                 KEY PLAN




St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000106
                                                                                                                                                                                                                                                                                    4 H    OOR
                                                                        NO E H S DOCUMEN CON INS D N MIC NO ES AND CA URED IMAG S WH CH C N BE V EWED B HOVER NG OVER HE NO E OR C I KING HE HO O MAGE                                       OR HIS UNC IONA I   DOWN O D HE
                                                                         REE B UEB AM V EWER A h tp www b ueb am com us p o uc s e - i we
                                                                                                                                                                                                                                                                                                   Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 132 of




                                                                         opy gh © 0 7 GC Con u ta ts   C   h s do ume t s t e   o k p du t o GC Con u t n s   C and c nn t be c p ed o ep duc d wi h ut he e p es ed w i en co se t o   CI Co su an s   C
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 133 of
                                      400




                                                                                                                 01
                                                                                                                                   Assembly Type Two Frame Window Wall
                                                                                                                 ELEVATOR'S AREA




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000107
                                                                                                                                                                                                                                              UNI           01                       S    OU S
                                                                                                                                                                                                                                                                                  CONDOMIN UM
                                                                                                                                                                                                                                                                               800 Cl ugh on Is and D
                                                                                                                                                                                                                                                                                  M ami     33 3




                                                                                                                                                                                                                                                                               W NDS ORM DAMAGE
                                                                                                                                                                                                                                                                                   NS EC ION
                                                                                  SI E PLAN
                                                                                                                                                                                                                                                                                                                                         400




                                                                                                                                                                             4




                                                                                                                                                                                                                                                                                     RE OR No

                                                                                                                                                                                                                                                                                       63 5 0
                                                                                                                                                                                                                     2



                                                                                                 BUILDING
                                                                                                 KEY PLAN




St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000108
                                                                                                                                                                                                                                                                                    4 H    OOR
                                                                        NO E H S DOCUMEN CON INS D N MIC NO ES AND CA URED IMAG S WH CH C N BE V EWED B HOVER NG OVER HE NO E OR C I KING HE HO O MAGE                                       OR HIS UNC IONA I   DOWN O D HE
                                                                         REE B UEB AM V EWER A h tp www b ueb am com us p o uc s e - i we
                                                                                                                                                                                                                                                                                                   Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 134 of




                                                                         opy gh © 0 7 GC Con u ta ts   C   h s do ume t s t e   o k p du t o GC Con u t n s   C and c nn t be c p ed o ep duc d wi h ut he e p es ed w i en co se t o   CI Co su an s   C
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 135 of
                                      400




                                                                                                                 01
                                                                                                                       Assembly Type Triple Single Hung Window
                                                                                                                 401




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000109
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 136 of
                                      400




                                                                                                                 02
                                                                                                                       Assembly Type Triple Single Hung Window
                                                                                                                 401




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000110
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 137 of
                                      400




                                                                                                                 03
                                                                                                                       Assembly Type Single Hung Window
                                                                                                                 401




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000111
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 138 of
                                      400




                                                                                                                 04
                                                                                                                       Assembly Type Double Single Hung Window
                                                                                                                 401




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000112
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 139 of
                                      400




                                                                                                                 05
                                                                                                                       Assembly Type Double Single Hung Window
                                                                                                                 401




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000113
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 140 of
                                      400




                                                                                                                 06
                                                                                                                       Assembly Type Three Panel Sliding Glass Door
                                                                                                                 401




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000114
                                                                                                                                                                                                                                                                                     S    OU S
                                                                                                                                                                                                                              2                                                   CONDOMIN UM
                                                                                                                                                                                                                                                                               800 Cl ugh on Is and D
                                                                                                                                                                                                                                                                                  M ami     33 3




                                                                                                                                                                                                                                                                               W NDS ORM DAMAGE
                                                                                                                                                                                                                                                                                   NS EC ION
                                                                                  SI E PLAN
                                                                                                                                                                                                                                                                                                                                         400




                                                                                                                                                                                                                                                                                     RE OR No

                                                                                                                                                                                                                                                                                       63 5 0
                                                                                                                                                                                                                     UNI 402

                                                                                                 BUILDING
                                                                                                 KEY PLAN




St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000115
                                                                                                                                                                                                                                                                                    4 H    OOR
                                                                        NO E H S DOCUMEN CON INS D N MIC NO ES AND CA URED IMAG S WH CH C N BE V EWED B HOVER NG OVER HE NO E OR C I KING HE HO O MAGE                                       OR HIS UNC IONA I   DOWN O D HE
                                                                         REE B UEB AM V EWER A h tp www b ueb am com us p o uc s e - i we
                                                                                                                                                                                                                                                                                                   Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 141 of




                                                                         opy gh © 0 7 GC Con u ta ts   C   h s do ume t s t e   o k p du t o GC Con u t n s   C and c nn t be c p ed o ep duc d wi h ut he e p es ed w i en co se t o   CI Co su an s   C
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 142 of
                                      400




                                                                                                                 01
                                                                                                                       Assembly Type Triple Single Hung Window
                                                                                                                 402




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000116
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 143 of
                                      400




                                                                                                                 02
                                                                                                                       Assembly Type Three Panel Sliding Glass Door
                                                                                                                 402




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000117
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 144 of
                                      400




                                                                                                                 03
                                                                                                                       Assembly Type Triple Single Hung Window
                                                                                                                 402




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000118
                                                                                                                                                                                                                                                                                     S    OU S
                                                                                                                                                                                                                                                                                  CONDOMIN UM
                                                                                                                                                                                                                                                                               800 Cl ugh on Is and D
                                                                                                                                                                                                                            2                                                     M ami     33 3




                                                                                                                                                                                                                                                                               W NDS ORM DAMAGE
                                                                                                                                                                                                                                                                                   NS EC ION
                                                                                  SI E PLAN
                                                                                                                                                                                                                                                                                                                                         400




                                                                                                                                                                                                                                                                                     RE OR No
                                                                                                                                                                                                                      UNI 403                                                          63 5 0




                                                                                                 BUILDING
                                                                                                 KEY PLAN




St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000119
                                                                                                                                                                                                                                                                                    4 H    OOR
                                                                        NO E H S DOCUMEN CON INS D N MIC NO ES AND CA URED IMAG S WH CH C N BE V EWED B HOVER NG OVER HE NO E OR C I KING HE HO O MAGE                                       OR HIS UNC IONA I   DOWN O D HE
                                                                         REE B UEB AM V EWER A h tp www b ueb am com us p o uc s e - i we
                                                                                                                                                                                                                                                                                                   Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 145 of




                                                                         opy gh © 0 7 GC Con u ta ts   C   h s do ume t s t e   o k p du t o GC Con u t n s   C and c nn t be c p ed o ep duc d wi h ut he e p es ed w i en co se t o   CI Co su an s   C
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 146 of
                                      400




                                                                                                                 01
                                                                                                                       Assembly Type Triple Single Hung Window
                                                                                                                 403




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000120
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 147 of
                                      400




                                                                                                                 02
                                                                                                                       Assembly Type Three Panel Sliding Glass Door
                                                                                                                 403




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000121
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 148 of
                                      400




                                                                                                                 03
                                                                                                                       Assembly Type Triple Single Hung Window
                                                                                                                 403




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000122
                                                                                                                                                                                                                                                                                     S    OU S
                                                                                                                                                                                                                              2                                                   CONDOMIN UM
                                                                                                                                                                                                                                                                               800 Cl ugh on Is and D
                                                                                                                                                                                                                                                                                  M ami     33 3




                                                                                                                                                                                                                                                                               W NDS ORM DAMAGE
                                                                                                                                                                                                                                                                                   NS EC ION
                                                                                  SI E PLAN
                                                                                                                                                                                                                                                                                                                                         400




                                                                                                                                                                                                                                                                                     RE OR No

                                                                                                                                                                                                                                                                                       63 5 0
                                                                                                                                                                                                                     UNI 404

                                                                                                 BUILDING
                                                                                                 KEY PLAN




St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000123
                                                                                                                                                                                                                                                                                    4 H    OOR
                                                                        NO E H S DOCUMEN CON INS D N MIC NO ES AND CA URED IMAG S WH CH C N BE V EWED B HOVER NG OVER HE NO E OR C I KING HE HO O MAGE                                       OR HIS UNC IONA I   DOWN O D HE
                                                                         REE B UEB AM V EWER A h tp www b ueb am com us p o uc s e - i we
                                                                                                                                                                                                                                                                                                   Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 149 of




                                                                         opy gh © 0 7 GC Con u ta ts   C   h s do ume t s t e   o k p du t o GC Con u t n s   C and c nn t be c p ed o ep duc d wi h ut he e p es ed w i en co se t o   CI Co su an s   C
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 150 of
                                      400




                                                                                                                 01
                                                                                                                       Assembly Type Triple Single Hung Window
                                                                                                                 404




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000124
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 151 of
                                      400




                                                                                                                 02
                                                                                                                       Assembly Type Three Panel Sliding Glass Door
                                                                                                                 404




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000125
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 152 of
                                      400




                                                                                                                 03
                                                                                                                       Assembly Type Triple Single Hung Window
                                                                                                                 404




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000126
                                                                                                                                                                                                                                                                                     S    OU S
                                                                                                                                                                                           UNI 405                                                                                CONDOMIN UM
                                                                                                                                                                                                                                                                               800 Cl ugh on Is and D
                                                                                                                                                                                                                                                                                  M ami     33 3




                                                                                                                                                                                                                                                                               W NDS ORM DAMAGE
                                                                                                                                                                                                                                                                                   NS EC ION
                                                                                  SI E PLAN
                                                                                                                                                                                                                                                                                                                                         400




                                                                                                                                                                                                                                                                      4




                                                                                                                                                                                                                                                                                     RE OR No

                                                                                                                                                                                                                                                                                       63 5 0
                                                                                                                                                                                                                                        2



                                                                                                 BUILDING
                                                                                                 KEY PLAN




St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000127
                                                                                                                                                                                                                                                                                    4 H    OOR
                                                                        NO E H S DOCUMEN CON INS D N MIC NO ES AND CA URED IMAG S WH CH C N BE V EWED B HOVER NG OVER HE NO E OR C I KING HE HO O MAGE                                       OR HIS UNC IONA I   DOWN O D HE
                                                                         REE B UEB AM V EWER A h tp www b ueb am com us p o uc s e - i we
                                                                                                                                                                                                                                                                                                   Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 153 of




                                                                         opy gh © 0 7 GC Con u ta ts   C   h s do ume t s t e   o k p du t o GC Con u t n s   C and c nn t be c p ed o ep duc d wi h ut he e p es ed w i en co se t o   CI Co su an s   C
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 154 of
                                      400




                                                                                                                 01
                                                                                                                       Assembly Type Triple Single Hung Window
                                                                                                                 405




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000128
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 155 of
                                      400




                                                                                                                 02
                                                                                                                       Assembly Type Triple Single Hung Window
                                                                                                                 405




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000129
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 156 of
                                      400




                                                                                                                 03
                                                                                                                       Assembly Type Single Hung Window
                                                                                                                 405




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000130
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 157 of
                                      400




                                                                                                                 04
                                                                                                                       Assembly Type Double Single Hung Window
                                                                                                                 405




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000131
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 158 of
                                      400




                                                                                                                 05
                                                                                                                       Assembly Type Double Single Hung Window
                                                                                                                 405




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000132
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 159 of
                                      400




                                                                                                                 06
                                                                                                                       Assembly Type Three Panel Sliding Glass Door
                                                                                                                 405




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000133
 Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 160 of
                                       400

4th Floor.pdf Capture Summary
                     Subject:   FJD
                        Date:   9/7/2018 9:24:38 AM
                      Author:   GCI-IPAD-TEMPTECH14
                       Page:    Opening 01
                      Space:    4th Floor - ELEVATOR'S AR...
                      Status:

Comments:

Frame Joint Damage




                                                                                                FJD (1 of 1)

                     Subject:   FJD
                        Date:   9/7/2018 9:24:38 AM
                      Author:   GCI-IPAD-TEMPTECH14
                       Page:    Opening 01
                      Space:    4th Floor - ELEVATOR'S AR...
                      Status:

Comments:

Frame Joint Damage




                                                                                                FJD (1 of 1)

                     Subject:   UN
                        Date:   9/7/2018 9:24:38 AM
                      Author:   GCI-IPAD-TEMPTECH14
                       Page:    UNIT 401
                      Space:
                      Status:

Comments:

Unit Number




                                                                                                 UN (1 of 1)


                                                               St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000134
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 161 of
                                      400




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000135
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 162 of
                                      400




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000136
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 163 of
                                      400




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000137
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 164 of
                                      400




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000138
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 165 of
                                      400




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000139
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 166 of
                                      400




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000140
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 167 of
                                      400




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000141
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 168 of
                                      400




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000142
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 169 of
                                      400




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000143
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 170 of
                                      400




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000144
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 171 of
                                      400




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000145
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 172 of
                                      400




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000146
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 173 of
                                      400




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000147
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 174 of
                                      400




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000148
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 175 of
                                      400




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000149
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 176 of
                                      400




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000150
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 177 of
                                      400




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000151
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 178 of
                                      400




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000152
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 179 of
                                      400




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000153
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 180 of
                                      400




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000154
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 181 of
                                      400




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000155
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 182 of
                                      400




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000156
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 183 of
                                      400




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000157
                                                                          Page Label   Page Index                                   Space                                      Comments       Recommendations
                                                                        Opening 01          2       4th Floor - ELEVATOR'S AREA - Opening 01 - Two Frame Window Wall     Frame Joint Damage       Replace
                                                                        Opening 01          2       4th Floor - ELEVATOR'S AREA - Opening 01 - Two Frame Window Wall     Frame Joint Damage       Replace
                                                                        UNIT 401            3                                                                            Unit Number
                                                                        Opening 01          4       4th Floor - UNIT 401 - Opening 01 - Triple Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 01          4       4th Floor - UNIT 401 - Opening 01 - Triple Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 01          4       4th Floor - UNIT 401 - Opening 01 - Triple Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 01          4       4th Floor - UNIT 401 - Opening 01 - Triple Single Hung Window        Frame Movement           Replace
                                                                        Opening 01          4       4th Floor - UNIT 401 - Opening 01 - Triple Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 02          5       4th Floor - UNIT 401 - Opening 02 - Triple Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 02          5       4th Floor - UNIT 401 - Opening 02 - Triple Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 02          5       4th Floor - UNIT 401 - Opening 02 - Triple Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 02          5       4th Floor - UNIT 401 - Opening 02 - Triple Single Hung Window        Frame Joint Damage       Replace
                                                                                                                                                                                                                                                      400




                                                                        Opening 03          6       4th Floor - UNIT 401 - Opening 03 .- Single Hung Window              Frame Joint Damage       Replace
                                                                        Opening 03          6       4th Floor - UNIT 401 - Opening 03 .- Single Hung Window              Frame Joint Damage       Replace
                                                                        Opening 04          7       4th Floor - UNIT 401 - Opening 04 - Double Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 04          7       4th Floor - UNIT 401 - Opening 04 - Double Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 04          7       4th Floor - UNIT 401 - Opening 04 - Double Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 04          7       4th Floor - UNIT 401 - Opening 04 - Double Single Hung Window        Hard To Operate           Repair
                                                                        Opening 05          8       4th Floor - UNIT 401 - Opening 05 - Double Single Hung Window        Frame Movement           Replace
                                                                        Opening 05          8       4th Floor - UNIT 401 - Opening 05 - Double Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 06          9       4th Floor - UNIT 401 - Opening 06 - Three Panel Sliding Glass Door   Frame Joint Damage       Replace
                                                                        Opening 06          9       4th Floor - UNIT 401 - Opening 06 - Three Panel Sliding Glass Door   Frame Joint Damage       Replace
                                                                        UNIT 402           10                                                                            Unit Number
                                                                        Opening 01         11       4th Floor - UNIT 402 - Opening 01 - Triple Single Hung Window        Frame Movement           Replace
                                                                        Opening 01         11       4th Floor - UNIT 402 - Opening 01 - Triple Single Hung Window        Frame Movement           Replace
                                                                        Opening 01         11       4th Floor - UNIT 402 - Opening 01 - Triple Single Hung Window        Frame Movement           Replace
                                                                        Opening 02         12       4th Floor - UNIT 402 - Opening 02 - Three Panel Sliding Glass Door   Frame Joint Damage       Replace




St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000158
                                                                        Opening 02         12       4th Floor - UNIT 402 - Opening 02 - Three Panel Sliding Glass Door   Frame Joint Damage       Replace
                                                                                                                                                                                                                Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 184 of
                                                                          Page Label   Page Index                                    Space                                     Comments       Recommendations
                                                                        Opening 03         13       4th Floor - UNIT 402 - Opening 03 - Triple Single Hung Window        Damaged Glass Stop       Replace
                                                                        Opening 03         13       4th Floor - UNIT 402 - Opening 03 - Triple Single Hung Window        Damaged Glass Stop       Replace
                                                                        UNIT 403           14                                                                            Unit Number
                                                                        Opening 01         15       4th Floor - UNIT 403 - Opening 01 - Triple Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 01         15       4th Floor - UNIT 403 - Opening 01 - Triple Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 02         16       4th Floor - UNIT 403 - Opening 02 - Three Panel Sliding Glass Door   Frame Joint Damage       Replace
                                                                        Opening 02         16       4th Floor - UNIT 403 - Opening 02 - Three Panel Sliding Glass Door   Frame Joint Damage       Replace
                                                                        Opening 02         16       4th Floor - UNIT 403 - Opening 02 - Three Panel Sliding Glass Door   Frame Joint Damage       Replace
                                                                        Opening 02         16       4th Floor - UNIT 403 - Opening 02 - Three Panel Sliding Glass Door   Frame Joint Damage       Replace
                                                                        Opening 03         17       4th Floor - UNIT 403 - Opening 03 - Triple Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 03         17       4th Floor - UNIT 403 - Opening 03 - Triple Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 03         17       4th Floor - UNIT 403 - Opening 03 - Triple Single Hung Window        Frame Joint Damage       Replace
                                                                                                                                                                                                                                                      400




                                                                        Opening 03         17       4th Floor - UNIT 403 - Opening 03 - Triple Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 03         17       4th Floor - UNIT 403 - Opening 03 - Triple Single Hung Window        Frame Joint Damage       Replace
                                                                        UNIT 404           18                                                                            Unit Number
                                                                        Opening 01         19       4th Floor - UNIT 404 - Opening 01 - Triple Single Hung Window        Damaged Glass Stop       Replace
                                                                        Opening 01         19       4th Floor - UNIT 404 - Opening 01 - Triple Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 01         19       4th Floor - UNIT 404 - Opening 01 - Triple Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 01         19       4th Floor - UNIT 404 - Opening 01 - Triple Single Hung Window        Damaged Glass Stop       Replace
                                                                        Opening 01         19       4th Floor - UNIT 404 - Opening 01 - Triple Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 01         19       4th Floor - UNIT 404 - Opening 01 - Triple Single Hung Window        Damaged Glass Stop       Replace
                                                                        Opening 02         20       4th Floor - UNIT 404 - Opening 02 - Three Panel Sliding Glass Door   Frame Joint Damage       Replace
                                                                        Opening 02         20       4th Floor - UNIT 404 - Opening 02 - Three Panel Sliding Glass Door   Frame Joint Damage       Replace
                                                                        Opening 03         21       4th Floor - UNIT 404 - Opening 03 - Triple Single Hung Window        Limited Access
                                                                        Opening 03         21       4th Floor - UNIT 404 - Opening 03 - Triple Single Hung Window        Damaged Glass Stop       Replace
                                                                        Opening 03         21       4th Floor - UNIT 404 - Opening 03 - Triple Single Hung Window        Damaged Glass Stop       Replace
                                                                        Opening 03         21       4th Floor - UNIT 404 - Opening 03 - Triple Single Hung Window        Damaged Glass Stop       Replace




St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000159
                                                                        UNIT 405           22                                                                            Unit Number
                                                                                                                                                                                                                Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 185 of
                                                                          Page Label   Page Index                                    Space                                    Comments        Recommendations
                                                                        Opening 01         23       4th Floor - UNIT 405 - Opening 01 - Triple Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 01         23       4th Floor - UNIT 405 - Opening 01 - Triple Single Hung Window        Hard To Operate           Repair
                                                                        Opening 01         23       4th Floor - UNIT 405 - Opening 01 - Triple Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 02         24       4th Floor - UNIT 405 - Opening 02 - Triple Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 02         24       4th Floor - UNIT 405 - Opening 02 - Triple Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 03         25       4th Floor - UNIT 405 - Opening 03 .- Single Hung Window              Frame Joint Damage       Replace
                                                                        Opening 03         25       4th Floor - UNIT 405 - Opening 03 .- Single Hung Window              Frame Joint Damage       Replace
                                                                        Opening 04         26       4th Floor - UNIT 405 - Opening 04 - Double Single Hung Window        Hard To Operate           Repair
                                                                        Opening 04         26       4th Floor - UNIT 405 - Opening 04 - Double Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 04         26       4th Floor - UNIT 405 - Opening 04 - Double Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 05         27       4th Floor - UNIT 405 - Opening 05 - Double Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 05         27       4th Floor - UNIT 405 - Opening 05 - Double Single Hung Window        Frame Joint Damage       Replace
                                                                                                                                                                                                                                                      400




                                                                        Opening 06         28       4th Floor - UNIT 405 - Opening 06 - Three Panel Sliding Glass Door   Frame Joint Damage       Replace
                                                                        Opening 06         28       4th Floor - UNIT 405 - Opening 06 - Three Panel Sliding Glass Door   Frame Joint Damage       Replace
                                                                        Opening 06         28       4th Floor - UNIT 405 - Opening 06 - Three Panel Sliding Glass Door   Frame Joint Damage       Replace
                                                                        Opening 06         28       4th Floor - UNIT 405 - Opening 06 - Three Panel Sliding Glass Door   Frame Joint Damage       Replace
                                                                        Opening 06         28       4th Floor - UNIT 405 - Opening 06 - Three Panel Sliding Glass Door   Frame Joint Damage       Replace
                                                                        Opening 06         28       4th Floor - UNIT 405 - Opening 06 - Three Panel Sliding Glass Door   Frame Joint Damage       Replace




St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000160
                                                                                                                                                                                                                Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 186 of
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 187 of
                                      400




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000161
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 188 of
                                      400




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000162
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 189 of
                                      400




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000163
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 190 of
                                      400




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000164
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 191 of
                                      400




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000165
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 192 of
                                      400




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000166
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 193 of
                                      400




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000167
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 194 of
                                      400




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000168
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 195 of
                                      400




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000169
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 196 of
                                      400




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000170
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 197 of
                                      400




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000171
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 198 of
                                      400




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000172
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 199 of
                                      400




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000173
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 200 of
                                      400




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000174
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 201 of
                                      400




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000175
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 202 of
                                      400




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000176
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 203 of
                                      400




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000177
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 204 of
                                      400




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000178
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 205 of
                                      400




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000179
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 206 of
                                      400




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000180
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 207 of
                                      400




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000181
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 208 of
                                      400




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000182
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 209 of
                                      400




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000183
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 210 of
                                      400




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000184
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 211 of
                                      400




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000185
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 212 of
                                      400




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000186
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 213 of
                                      400




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000187
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 214 of
                                      400




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000188
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 215 of
                                      400




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000189
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 216 of
                                      400




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000190
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 217 of
                                      400




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000191
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 218 of
                                      400




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000192
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 219 of
                                      400




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000193
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 220 of
                                      400




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000194
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 221 of
                                      400




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000195
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 222 of
                                      400




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000196
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 223 of
                                      400




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000197
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 224 of
                                      400




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000198
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 225 of
                                      400




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000199
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 226 of
                                      400




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000200
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 227 of
                                      400




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000201
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 228 of
                                      400




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000202
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 229 of
                                      400




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000203
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 230 of
                                      400




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000204
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 231 of
                                      400




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000205
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 232 of
                                      400




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000206
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 233 of
                                      400




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000207
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 234 of
                                      400




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000208
                                                                          Page Label   Page Index                                   Space                                      Comments       Recommendations
                                                                        Opening 01          2       5th Floor - ELEVATOR'S AREA - Opening 01 - Two Frame Window Wall     Frame Joint Damage       Replace
                                                                        Opening 01          2       5th Floor - ELEVATOR'S AREA - Opening 01 - Two Frame Window Wall     Frame Joint Damage       Replace
                                                                        Opening 01          2       5th Floor - ELEVATOR'S AREA - Opening 01 - Two Frame Window Wall     Frame Joint Damage       Replace
                                                                        Opening 01          2       5th Floor - ELEVATOR'S AREA - Opening 01 - Two Frame Window Wall     Frame Joint Damage       Replace
                                                                        Opening 01          2       5th Floor - ELEVATOR'S AREA - Opening 01 - Two Frame Window Wall     Frame Joint Damage       Replace
                                                                        UNIT 501            3                                                                            Unit Number
                                                                        Opening 01          4       5th Floor - UNIT 501 - Opening 01 - Triple Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 01          4       5th Floor - UNIT 501 - Opening 01 - Triple Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 02          5       5th Floor - UNIT 501 - Opening 02 - Triple Single Hung Window        Water Damage             Replace
                                                                        Opening 02          5       5th Floor - UNIT 501 - Opening 02 - Triple Single Hung Window        Water Damage             Replace
                                                                        Opening 02          5       5th Floor - UNIT 501 - Opening 02 - Triple Single Hung Window        Water Damage             Replace
                                                                        Opening 02          5       5th Floor - UNIT 501 - Opening 02 - Triple Single Hung Window        Water Damage             Replace
                                                                                                                                                                                                                                                      400




                                                                        Opening 03          6       5th Floor - UNIT 501 - Opening 03 .- Single Hung Window              Frame Joint Damage       Replace
                                                                        Opening 03          6       5th Floor - UNIT 501 - Opening 03 .- Single Hung Window              Frame Joint Damage       Replace
                                                                        Opening 04          7       5th Floor - UNIT 501 - Opening 04 - Double Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 04          7       5th Floor - UNIT 501 - Opening 04 - Double Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 05          8       5th Floor - UNIT 501 - Opening 05 - Double Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 05          8       5th Floor - UNIT 501 - Opening 05 - Double Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 06          9       5th Floor - UNIT 501 - Opening 06 - Three Panel Sliding Glass Door   Frame Joint Damage       Replace
                                                                        Opening 06          9       5th Floor - UNIT 501 - Opening 06 - Three Panel Sliding Glass Door   Frame Joint Damage       Replace
                                                                        UNIT 502           10                                                                            Unit Number
                                                                        Opening 01         11       5th Floor - UNIT 502 - Opening 01 - Triple Single Hung Window        Damaged Glass Stop       Replace
                                                                        Opening 01         11       5th Floor - UNIT 502 - Opening 01 - Triple Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 02         12       5th Floor - UNIT 502 - Opening 02 - Three Panel Sliding Glass Door   Frame Joint Damage       Replace
                                                                        Opening 03         13       5th Floor - UNIT 502 - Opening 03 - Triple Single Hung Window        Damaged Glass Stop       Replace
                                                                        Opening 03         13       5th Floor - UNIT 502 - Opening 03 - Triple Single Hung Window        Damaged Glass Stop       Replace
                                                                        UNIT 503           14                                                                            Unit Number




St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000209
                                                                        Opening 01         15       5th Floor - UNIT 503 - Opening 01 - Triple Single Hung Window        Service and Clean
                                                                                                                                                                                                                Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 235 of
                                                                          Page Label   Page Index                                    Space                                     Comments       Recommendations
                                                                        Opening 02         16       5th Floor - UNIT 503 - Opening 02 - Three Panel Sliding Glass Door   Frame Movement           Replace
                                                                        Opening 02         16       5th Floor - UNIT 503 - Opening 02 - Three Panel Sliding Glass Door   Frame Joint Damage       Replace
                                                                        Opening 03         17       5th Floor - UNIT 503 - Opening 03 - Triple Single Hung Window        Service and Clean
                                                                        UNIT 504           18                                                                            Unit Number
                                                                        Opening 01         19       5th Floor - UNIT 504 - Opening 01 - Triple Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 01         19       5th Floor - UNIT 504 - Opening 01 - Triple Single Hung Window        Damaged Glass Stop       Replace
                                                                        Opening 01         19       5th Floor - UNIT 504 - Opening 01 - Triple Single Hung Window        Damaged Glass Stop       Replace
                                                                        Opening 01         19       5th Floor - UNIT 504 - Opening 01 - Triple Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 01         19       5th Floor - UNIT 504 - Opening 01 - Triple Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 02         20       5th Floor - UNIT 504 - Opening 02 - Three Panel Sliding Glass Door   Frame Joint Damage       Replace
                                                                        Opening 03         21       5th Floor - UNIT 504 - Opening 03 - Triple Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 03         21       5th Floor - UNIT 504 - Opening 03 - Triple Single Hung Window        Damaged Glass Stop       Replace
                                                                                                                                                                                                                                                      400




                                                                        Opening 03         21       5th Floor - UNIT 504 - Opening 03 - Triple Single Hung Window        Damaged Glass Stop       Replace
                                                                        Opening 03         21       5th Floor - UNIT 504 - Opening 03 - Triple Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 03         21       5th Floor - UNIT 504 - Opening 03 - Triple Single Hung Window        Damaged Glass Stop       Replace
                                                                        Opening 03         21       5th Floor - UNIT 504 - Opening 03 - Triple Single Hung Window        Frame Joint Damage       Replace
                                                                        UNIT 505           22                                                                            Unit Number
                                                                        Opening 01         23       5th Floor - UNIT 505 - Opening 01 - Triple Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 01         23       5th Floor - UNIT 505 - Opening 01 - Triple Single Hung Window        Damaged Glass Stop       Replace
                                                                        Opening 01         23       5th Floor - UNIT 505 - Opening 01 - Triple Single Hung Window        Damaged Glass Stop       Replace
                                                                        Opening 02         24       5th Floor - UNIT 505 - Opening 02 - Triple Single Hung Window        Damaged Glass Stop       Replace
                                                                        Opening 02         24       5th Floor - UNIT 505 - Opening 02 - Triple Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 02         24       5th Floor - UNIT 505 - Opening 02 - Triple Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 03         25       5th Floor - UNIT 505 - Opening 03 .- Single Hung Window              Frame Joint Damage       Replace
                                                                        Opening 03         25       5th Floor - UNIT 505 - Opening 03 .- Single Hung Window              Damaged Glass Stop       Replace
                                                                        Opening 04         26       5th Floor - UNIT 505 - Opening 04 - Double Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 04         26       5th Floor - UNIT 505 - Opening 04 - Double Single Hung Window        Frame Joint Damage       Replace




St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000210
                                                                        Opening 05         27       5th Floor - UNIT 505 - Opening 05 - Double Single Hung Window        Damaged Glass Stop       Replace
                                                                                                                                                                                                                Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 236 of
                                                                          Page Label   Page Index                                    Space                                   Comments         Recommendations
                                                                        Opening 05         27       5th Floor - UNIT 505 - Opening 05 - Double Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 06         28       5th Floor - UNIT 505 - Opening 06 - Three Panel Sliding Glass Door   Frame Joint Damage       Replace
                                                                        Opening 06         28       5th Floor - UNIT 505 - Opening 06 - Three Panel Sliding Glass Door   Frame Joint Damage       Replace
                                                                        Opening 06         28       5th Floor - UNIT 505 - Opening 06 - Three Panel Sliding Glass Door   Frame Joint Damage       Replace
                                                                        Opening 06         28       5th Floor - UNIT 505 - Opening 06 - Three Panel Sliding Glass Door   Frame Joint Damage       Replace
                                                                                                                                                                                                                                                      400




St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000211
                                                                                                                                                                                                                Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 237 of
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 238 of
                                      400




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000212
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 239 of
                                      400




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000213
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 240 of
                                      400




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000214
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 241 of
                                      400




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000215
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 242 of
                                      400




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000216
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 243 of
                                      400




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000217
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 244 of
                                      400




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000218
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 245 of
                                      400




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000219
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 246 of
                                      400




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000220
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 247 of
                                      400




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000221
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 248 of
                                      400




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000222
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 249 of
                                      400




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000223
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 250 of
                                      400




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000224
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 251 of
                                      400




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000225
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 252 of
                                      400




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000226
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 253 of
                                      400




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000227
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 254 of
                                      400




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000228
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 255 of
                                      400




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000229
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 256 of
                                      400




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000230
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 257 of
                                      400




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000231
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 258 of
                                      400




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000232
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 259 of
                                      400




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000233
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 260 of
                                      400




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000234
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 261 of
                                      400




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000235
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 262 of
                                      400




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000236
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 263 of
                                      400




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000237
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 264 of
                                      400




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000238
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 265 of
                                      400




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000239
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 266 of
                                      400




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000240
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 267 of
                                      400




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000241
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 268 of
                                      400




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000242
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 269 of
                                      400




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000243
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 270 of
                                      400




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000244
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 271 of
                                      400




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000245
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 272 of
                                      400




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000246
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 273 of
                                      400




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000247
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 274 of
                                      400




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000248
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 275 of
                                      400




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000249
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 276 of
                                      400




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000250
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 277 of
                                      400




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000251
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 278 of
                                      400




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000252
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 279 of
                                      400




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000253
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 280 of
                                      400




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000254
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 281 of
                                      400




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000255
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 282 of
                                      400




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000256
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 283 of
                                      400




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000257
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 284 of
                                      400




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000258
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 285 of
                                      400




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000259
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 286 of
                                      400




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000260
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 287 of
                                      400




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000261
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 288 of
                                      400




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000262
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 289 of
                                      400




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000263
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 290 of
                                      400




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000264
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 291 of
                                      400




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000265
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 292 of
                                      400




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000266
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 293 of
                                      400




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000267
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 294 of
                                      400




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000268
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 295 of
                                      400




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000269
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 296 of
                                      400




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000270
                                                                           Page Label   Page Index                                    Space                                     Comments       Recommendations
                                                                        ELEVATOR            1                                                                             Unit Number
                                                                        Opening 01           2       6th Floor - ELEVATOR'S AREA - Opening 01 - Two Frame Window Wall     Frame Joint Damage       Replace
                                                                        Opening 01           2       6th Floor - ELEVATOR'S AREA - Opening 01 - Two Frame Window Wall     Frame Joint Damage       Replace
                                                                        Opening 01           2       6th Floor - ELEVATOR'S AREA - Opening 01 - Two Frame Window Wall     Frame Joint Damage       Replace
                                                                        UNIT 601             3                                                                            Unit Number
                                                                        Opening 01           4       6th Floor - UNIT 601 - Opening 01 - Triple Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 01           4       6th Floor - UNIT 601 - Opening 01 - Triple Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 01           4       6th Floor - UNIT 601 - Opening 01 - Triple Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 01           4       6th Floor - UNIT 601 - Opening 01 - Triple Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 02           5       6th Floor - UNIT 601 - Opening 02 - Triple Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 02           5       6th Floor - UNIT 601 - Opening 02 - Triple Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 02           5       6th Floor - UNIT 601 - Opening 02 - Triple Single Hung Window        Frame Joint Damage       Replace
                                                                                                                                                                                                                                                       400




                                                                        Opening 02           5       6th Floor - UNIT 601 - Opening 02 - Triple Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 03           6       6th Floor - UNIT 601 - Opening 03 .- Single Hung Window              Frame Joint Damage       Replace
                                                                        Opening 04           7       6th Floor - UNIT 601 - Opening 04 - Double Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 04           7       6th Floor - UNIT 601 - Opening 04 - Double Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 04           7       6th Floor - UNIT 601 - Opening 04 - Double Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 05           8       6th Floor - UNIT 601 - Opening 05 - Double Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 05           8       6th Floor - UNIT 601 - Opening 05 - Double Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 05           8       6th Floor - UNIT 601 - Opening 05 - Double Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 06           9       6th Floor - UNIT 601 - Opening 06 - Three Panel Sliding Glass Door   Frame Joint Damage       Replace
                                                                        Opening 06           9       6th Floor - UNIT 601 - Opening 06 - Three Panel Sliding Glass Door   Frame Joint Damage       Replace
                                                                        UNIT 602            10                                                                            Unit Number
                                                                        Opening 01          11       6th Floor - UNIT 602 - Opening 01 - Triple Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 01          11       6th Floor - UNIT 602 - Opening 01 - Triple Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 02          12       6th Floor - UNIT 602 - Opening 02 - Three Panel Sliding Glass Door   Frame Joint Damage       Replace
                                                                        Opening 02          12       6th Floor - UNIT 602 - Opening 02 - Three Panel Sliding Glass Door   Frame Joint Damage       Replace




St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000271
                                                                        Opening 02          12       6th Floor - UNIT 602 - Opening 02 - Three Panel Sliding Glass Door   Frame Joint Damage       Replace
                                                                                                                                                                                                                 Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 297 of
                                                                          Page Label   Page Index                                    Space                                     Comments       Recommendations
                                                                        Opening 02         12       6th Floor - UNIT 602 - Opening 02 - Three Panel Sliding Glass Door   Frame Joint Damage       Replace
                                                                        Opening 03         13       6th Floor - UNIT 602 - Opening 03 - Triple Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 03         13       6th Floor - UNIT 602 - Opening 03 - Triple Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 03         13       6th Floor - UNIT 602 - Opening 03 - Triple Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 03         13       6th Floor - UNIT 602 - Opening 03 - Triple Single Hung Window        Frame Joint Damage       Replace
                                                                        UNIT 603           14                                                                            Unit Number
                                                                        Opening 01         15       6th Floor - UNIT 603 - Opening 01 - Triple Single Hung Window        Service and Clean
                                                                        Opening 02         16       6th Floor - UNIT 603 - Opening 02 - Three Panel Sliding Glass Door   Frame Joint Damage       Replace
                                                                        Opening 03         17       6th Floor - UNIT 603 - Opening 03 - Triple Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 03         17       6th Floor - UNIT 603 - Opening 03 - Triple Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 03         17       6th Floor - UNIT 603 - Opening 03 - Triple Single Hung Window        Frame Joint Damage       Replace
                                                                        UNIT 604           18                                                                            Unit Number
                                                                                                                                                                                                                                                      400




                                                                        Opening 01         19       6th Floor - UNIT 603 - Opening 01 - Triple Single Hung Window        Damaged Glass Stop       Replace
                                                                        Opening 01         19       6th Floor - UNIT 603 - Opening 01 - Triple Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 01         19       6th Floor - UNIT 603 - Opening 01 - Triple Single Hung Window        Damaged Glass Stop       Replace
                                                                        Opening 01         19       6th Floor - UNIT 603 - Opening 01 - Triple Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 01         19       6th Floor - UNIT 603 - Opening 01 - Triple Single Hung Window        Damaged Glass Stop       Replace
                                                                        Opening 01         19       6th Floor - UNIT 603 - Opening 01 - Triple Single Hung Window        Frame Movement           Replace
                                                                        Opening 01         19       6th Floor - UNIT 603 - Opening 01 - Triple Single Hung Window        Frame Movement           Replace
                                                                        Opening 01         19       6th Floor - UNIT 603 - Opening 01 - Triple Single Hung Window        Frame Movement           Replace
                                                                        Opening 01         19       6th Floor - UNIT 603 - Opening 01 - Triple Single Hung Window        Frame Movement           Replace
                                                                        Opening 01         19       6th Floor - UNIT 603 - Opening 01 - Triple Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 01         19       6th Floor - UNIT 603 - Opening 01 - Triple Single Hung Window        Frame Movement           Replace
                                                                        Opening 01         19       6th Floor - UNIT 603 - Opening 01 - Triple Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 01         19       6th Floor - UNIT 603 - Opening 01 - Triple Single Hung Window        Damaged Glass Stop       Replace
                                                                        Opening 01         19       6th Floor - UNIT 603 - Opening 01 - Triple Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 02         20       6th Floor - UNIT 603 - Opening 02 - Three Panel Sliding Glass Door   Frame Movement           Replace




St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000272
                                                                        Opening 02         20       6th Floor - UNIT 603 - Opening 02 - Three Panel Sliding Glass Door   Frame Joint Damage       Replace
                                                                                                                                                                                                                Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 298 of
                                                                          Page Label   Page Index                                    Space                                     Comments       Recommendations
                                                                        Opening 02         20       6th Floor - UNIT 603 - Opening 02 - Three Panel Sliding Glass Door   Frame Joint Damage       Replace
                                                                        Opening 02         20       6th Floor - UNIT 603 - Opening 02 - Three Panel Sliding Glass Door   Frame Movement           Replace
                                                                        Opening 02         20       6th Floor - UNIT 603 - Opening 02 - Three Panel Sliding Glass Door   Frame Joint Damage       Replace
                                                                        Opening 02         20       6th Floor - UNIT 603 - Opening 02 - Three Panel Sliding Glass Door   Frame Joint Damage       Replace
                                                                        Opening 02         20       6th Floor - UNIT 603 - Opening 02 - Three Panel Sliding Glass Door   Frame Movement           Replace
                                                                        Opening 02         20       6th Floor - UNIT 603 - Opening 02 - Three Panel Sliding Glass Door   Frame Joint Damage       Replace
                                                                        Opening 03         21       6th Floor - UNIT 603 - Opening 03 - Triple Single Hung Window        Damaged Glass Stop       Replace
                                                                        Opening 03         21       6th Floor - UNIT 603 - Opening 03 - Triple Single Hung Window        Frame Movement           Replace
                                                                        Opening 03         21       6th Floor - UNIT 603 - Opening 03 - Triple Single Hung Window        Damaged Glass Stop       Replace
                                                                        Opening 03         21       6th Floor - UNIT 603 - Opening 03 - Triple Single Hung Window        Frame Movement           Replace
                                                                        Opening 03         21       6th Floor - UNIT 603 - Opening 03 - Triple Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 03         21       6th Floor - UNIT 603 - Opening 03 - Triple Single Hung Window        Damaged Glass Stop       Replace
                                                                                                                                                                                                                                                      400




                                                                        Opening 03         21       6th Floor - UNIT 603 - Opening 03 - Triple Single Hung Window        Damaged Glass Stop       Replace
                                                                        Opening 03         21       6th Floor - UNIT 603 - Opening 03 - Triple Single Hung Window        Damaged Glass Stop       Replace
                                                                        Opening 03         21       6th Floor - UNIT 603 - Opening 03 - Triple Single Hung Window        Damaged Glass Stop       Replace
                                                                        Opening 03         21       6th Floor - UNIT 603 - Opening 03 - Triple Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 03         21       6th Floor - UNIT 603 - Opening 03 - Triple Single Hung Window        Frame Movement           Replace
                                                                        Opening 03         21       6th Floor - UNIT 603 - Opening 03 - Triple Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 03         21       6th Floor - UNIT 603 - Opening 03 - Triple Single Hung Window        Frame Joint Damage       Replace
                                                                        UNIT 605           22                                                                            Unit Number
                                                                        Opening 01         23       6th Floor - UNIT 605 - Opening 01 - Triple Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 01         23       6th Floor - UNIT 605 - Opening 01 - Triple Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 01         23       6th Floor - UNIT 605 - Opening 01 - Triple Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 01         23       6th Floor - UNIT 605 - Opening 01 - Triple Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 02         24       6th Floor - UNIT 605 - Opening 02 - Triple Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 02         24       6th Floor - UNIT 605 - Opening 02 - Triple Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 03         25       6th Floor - UNIT 605 - Opening 03 .- Single Hung Window              Inoperable               Replace




St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000273
                                                                        Opening 03         25       6th Floor - UNIT 605 - Opening 03 .- Single Hung Window              Frame Joint Damage       Replace
                                                                                                                                                                                                                Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 299 of
                                                                          Page Label   Page Index                                    Space                                   Comments         Recommendations
                                                                        Opening 03         25       6th Floor - UNIT 605 - Opening 03 .- Single Hung Window              Frame Joint Damage       Replace
                                                                        Opening 04         26       6th Floor - UNIT 605 - Opening 04 - Double Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 04         26       6th Floor - UNIT 605 - Opening 04 - Double Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 05         27       6th Floor - UNIT 605 - Opening 05 - Double Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 05         27       6th Floor - UNIT 605 - Opening 05 - Double Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 05         27       6th Floor - UNIT 605 - Opening 05 - Double Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 06         28       6th Floor - UNIT 605 - Opening 06 - Three Panel Sliding Glass Door   Frame Joint Damage       Replace
                                                                        Opening 06         28       6th Floor - UNIT 605 - Opening 06 - Three Panel Sliding Glass Door   Frame Joint Damage       Replace
                                                                                                                                                                                                                                                      400




St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000274
                                                                                                                                                                                                                Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 300 of
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 301 of
                                      400




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000275
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 302 of
                                      400




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000276
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 303 of
                                      400




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000277
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 304 of
                                      400




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000278
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 305 of
                                      400




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000279
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 306 of
                                      400




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000280
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 307 of
                                      400




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000281
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 308 of
                                      400




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000282
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 309 of
                                      400




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000283
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 310 of
                                      400




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000284
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 311 of
                                      400




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000285
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 312 of
                                      400




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000286
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 313 of
                                      400




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000287
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 314 of
                                      400




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000288
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 315 of
                                      400




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000289
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 316 of
                                      400




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000290
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 317 of
                                      400




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000291
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 318 of
                                      400




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000292
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 319 of
                                      400




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000293
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 320 of
                                      400




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000294
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 321 of
                                      400




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000295
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 322 of
                                      400




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000296
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 323 of
                                      400




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000297
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 324 of
                                      400




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000298
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 325 of
                                      400




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000299
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 326 of
                                      400




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000300
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 327 of
                                      400




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000301
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 328 of
                                      400




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000302
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 329 of
                                      400




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000303
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 330 of
                                      400




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000304
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 331 of
                                      400




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000305
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 332 of
                                      400




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000306
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 333 of
                                      400




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000307
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 334 of
                                      400




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000308
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 335 of
                                      400




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000309
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 336 of
                                      400




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000310
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 337 of
                                      400




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000311
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 338 of
                                      400




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000312
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 339 of
                                      400




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000313
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 340 of
                                      400




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000314
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 341 of
                                      400




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000315
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 342 of
                                      400




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000316
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 343 of
                                      400




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000317
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 344 of
                                      400




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000318
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 345 of
                                      400




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000319
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 346 of
                                      400




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000320
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 347 of
                                      400




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000321
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 348 of
                                      400




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000322
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 349 of
                                      400




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000323
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 350 of
                                      400




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000324
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 351 of
                                      400




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000325
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 352 of
                                      400




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000326
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 353 of
                                      400




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000327
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 354 of
                                      400




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000328
                                                                           Page Label   Page Index                                    Space                                     Comments       Recommendations
                                                                        ELEVATOR            1                                                                             Unit Number
                                                                        Opening 01           2       7th Floor - ELEVATOR'S AREA - Opening 01 - Two Frame Window Wall     Frame Joint Damage       Replace
                                                                        Opening 01           2       7th Floor - ELEVATOR'S AREA - Opening 01 - Two Frame Window Wall     Frame Joint Damage       Replace
                                                                        UNIT 701             3                                                                            Unit Number
                                                                        Opening 01           4       7th Floor - UNIT 701 - Opening 01 - Triple Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 01           4       7th Floor - UNIT 701 - Opening 01 - Triple Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 01           4       7th Floor - UNIT 701 - Opening 01 - Triple Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 02           5       7th Floor - UNIT 701 - Opening 02 - Triple Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 02           5       7th Floor - UNIT 701 - Opening 02 - Triple Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 02           5       7th Floor - UNIT 701 - Opening 02 - Triple Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 02           5       7th Floor - UNIT 701 - Opening 02 - Triple Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 03           6       7th Floor - UNIT 701 - Opening 03 .- Single Hung Window              Frame Joint Damage       Replace
                                                                                                                                                                                                                                                       400




                                                                        Opening 04           7       7th Floor - UNIT 701 - Opening 04 - Double Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 04           7       7th Floor - UNIT 701 - Opening 04 - Double Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 05           8       7th Floor - UNIT 701 - Opening 05 - Double Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 05           8       7th Floor - UNIT 701 - Opening 05 - Double Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 06           9       7th Floor - UNIT 701 - Opening 06 - Three Panel Sliding Glass Door   Frame Joint Damage       Replace
                                                                        Opening 06           9       7th Floor - UNIT 701 - Opening 06 - Three Panel Sliding Glass Door   Frame Joint Damage       Replace
                                                                        Opening 06           9       7th Floor - UNIT 701 - Opening 06 - Three Panel Sliding Glass Door   Frame Joint Damage       Replace
                                                                        Opening 06           9       7th Floor - UNIT 701 - Opening 06 - Three Panel Sliding Glass Door   Frame Joint Damage       Replace
                                                                        UNIT 702            10                                                                            Unit Number
                                                                        Opening 01          11       7th Floor - UNIT 702 - Opening 01 - Triple Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 01          11       7th Floor - UNIT 702 - Opening 01 - Triple Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 01          11       7th Floor - UNIT 702 - Opening 01 - Triple Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 01          11       7th Floor - UNIT 702 - Opening 01 - Triple Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 02          12       7th Floor - UNIT 702 - Opening 02 - Three Panel Sliding Glass Door   Frame Joint Damage       Replace
                                                                        Opening 02          12       7th Floor - UNIT 702 - Opening 02 - Three Panel Sliding Glass Door   Frame Joint Damage       Replace




St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000329
                                                                        Opening 02          12       7th Floor - UNIT 702 - Opening 02 - Three Panel Sliding Glass Door   Frame Joint Damage       Replace
                                                                                                                                                                                                                 Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 355 of
                                                                          Page Label   Page Index                                    Space                                     Comments       Recommendations
                                                                        Opening 02         12       7th Floor - UNIT 702 - Opening 02 - Three Panel Sliding Glass Door   Frame Joint Damage       Replace
                                                                        Opening 03         13       7th Floor - UNIT 702 - Opening 03 - Triple Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 03         13       7th Floor - UNIT 702 - Opening 03 - Triple Single Hung Window        Hard To Operate           Repair
                                                                        Opening 03         13       7th Floor - UNIT 702 - Opening 03 - Triple Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 03         13       7th Floor - UNIT 702 - Opening 03 - Triple Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 03         13       7th Floor - UNIT 702 - Opening 03 - Triple Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 03         13       7th Floor - UNIT 702 - Opening 03 - Triple Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 03         13       7th Floor - UNIT 702 - Opening 03 - Triple Single Hung Window        Frame Joint Damage       Replace
                                                                        UNIT 703           14                                                                            Unit Number
                                                                        Opening 01         15       7th Floor - UNIT 703 - Opening 01 - Triple Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 01         15       7th Floor - UNIT 703 - Opening 01 - Triple Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 01         15       7th Floor - UNIT 703 - Opening 01 - Triple Single Hung Window        Frame Joint Damage       Replace
                                                                                                                                                                                                                                                      400




                                                                        Opening 01         15       7th Floor - UNIT 703 - Opening 01 - Triple Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 01         15       7th Floor - UNIT 703 - Opening 01 - Triple Single Hung Window        Frame Movement           Replace
                                                                        Opening 02         16       7th Floor - UNIT 703 - Opening 02 - Three Panel Sliding Glass Door   Frame Joint Damage       Replace
                                                                        Opening 03         17       7th Floor - UNIT 703 - Opening 03 - Triple Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 03         17       7th Floor - UNIT 703 - Opening 03 - Triple Single Hung Window        Limited Access
                                                                        UNIT 704           18                                                                            Unit Number
                                                                        Opening 01         19       7th Floor - UNIT 704 - Opening 01 - Triple Single Hung Window        Limited Access
                                                                        Opening 01         19       7th Floor - UNIT 704 - Opening 01 - Triple Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 01         19       7th Floor - UNIT 704 - Opening 01 - Triple Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 01         19       7th Floor - UNIT 704 - Opening 01 - Triple Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 02         20       7th Floor - UNIT 704 - Opening 02 - Three Panel Sliding Glass Door   Frame Joint Damage       Replace
                                                                        Opening 02         20       7th Floor - UNIT 704 - Opening 02 - Three Panel Sliding Glass Door   Water Damage             Replace
                                                                        Opening 03         21       7th Floor - UNIT 704 - Opening 03 - Triple Single Hung Window        Water Damage             Replace
                                                                        Opening 03         21       7th Floor - UNIT 704 - Opening 03 - Triple Single Hung Window        Limited Access
                                                                        Opening 03         21       7th Floor - UNIT 704 - Opening 03 - Triple Single Hung Window        Frame Movement           Replace




St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000330
                                                                        Opening 03         21       7th Floor - UNIT 704 - Opening 03 - Triple Single Hung Window        Frame Joint Damage       Replace
                                                                                                                                                                                                                Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 356 of
                                                                          Page Label   Page Index                                    Space                                     Comments       Recommendations
                                                                        Opening 03         21       7th Floor - UNIT 704 - Opening 03 - Triple Single Hung Window        Frame Movement           Replace
                                                                        Opening 03         21       7th Floor - UNIT 704 - Opening 03 - Triple Single Hung Window        Frame Movement           Replace
                                                                        Opening 03         21       7th Floor - UNIT 704 - Opening 03 - Triple Single Hung Window        Frame Joint Damage       Replace
                                                                        UNIT 705           22                                                                            Unit Number
                                                                        Opening 01         23       7th Floor - UNIT 705 - Opening 01 - Triple Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 01         23       7th Floor - UNIT 705 - Opening 01 - Triple Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 01         23       7th Floor - UNIT 705 - Opening 01 - Triple Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 01         23       7th Floor - UNIT 705 - Opening 01 - Triple Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 02         24       7th Floor - UNIT 705 - Opening 02 - Triple Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 02         24       7th Floor - UNIT 705 - Opening 02 - Triple Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 02         24       7th Floor - UNIT 705 - Opening 02 - Triple Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 02         24       7th Floor - UNIT 705 - Opening 02 - Triple Single Hung Window        Frame Joint Damage       Replace
                                                                                                                                                                                                                                                      400




                                                                        Opening 03         25       7th Floor - UNIT 705 - Opening 03 .- Single Hung Window              Frame Joint Damage       Replace
                                                                        Opening 03         25       7th Floor - UNIT 705 - Opening 03 .- Single Hung Window              Hard To Operate           Repair
                                                                        Opening 04         26       7th Floor - UNIT 705 - Opening 04 - Double Single Hung Window        Hard To Operate           Repair
                                                                        Opening 04         26       7th Floor - UNIT 705 - Opening 04 - Double Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 04         26       7th Floor - UNIT 705 - Opening 04 - Double Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 04         26       7th Floor - UNIT 705 - Opening 04 - Double Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 05         27       7th Floor - UNIT 705 - Opening 05 - Double Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 05         27       7th Floor - UNIT 705 - Opening 05 - Double Single Hung Window        Hard To Operate           Repair
                                                                        Opening 05         27       7th Floor - UNIT 705 - Opening 05 - Double Single Hung Window        Frame Joint Damage       Replace
                                                                        Opening 06         28       7th Floor - UNIT 705 - Opening 06 - Three Panel Sliding Glass Door   Frame Joint Damage       Replace
                                                                        Opening 06         28       7th Floor - UNIT 705 - Opening 06 - Three Panel Sliding Glass Door   Frame Joint Damage       Replace
                                                                        Opening 06         28       7th Floor - UNIT 705 - Opening 06 - Three Panel Sliding Glass Door   Frame Joint Damage       Replace




St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000331
                                                                                                                                                                                                                Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 357 of
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 358 of
                                      400




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000332
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 359 of
                                      400




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000333
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 360 of
                                      400




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000334
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 361 of
                                      400




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000335
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 362 of
                                      400




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000336
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 363 of
                                      400




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000337
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 364 of
                                      400




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000338
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 365 of
                                      400




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000339
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 366 of
                                      400




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000340
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 367 of
                                      400




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000341
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 368 of
                                      400




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000342
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 369 of
                                      400




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000343
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 370 of
                                      400




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000344
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 371 of
                                      400




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000345
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 372 of
                                      400




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000346
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 373 of
                                      400




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000347
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 374 of
                                      400




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000348
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 375 of
                                      400




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000349
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 376 of
                                      400




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000350
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 377 of
                                      400




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000351
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 378 of
                                      400




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000352
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 379 of
                                      400




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000353
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 380 of
                                      400




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000354
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 381 of
                                      400




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000355
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 382 of
                                      400




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000356
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 383 of
                                      400




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000357
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 384 of
                                      400




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000358
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 385 of
                                      400




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000359
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 386 of
                                      400




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000360
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 387 of
                                      400




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000361
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 388 of
                                      400




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000362
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 389 of
                                      400




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000363
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 390 of
                                      400




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000364
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 391 of
                                      400




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000365
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 392 of
                                      400




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000366
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 393 of
                                      400




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000367
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 394 of
                                      400




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000368
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 395 of
                                      400




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000369
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 396 of
                                      400




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000370
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 397 of
                                      400




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000371
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 398 of
                                      400




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000372
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 399 of
                                      400




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000373
Case 1:18-cv-21365-KMW Document 109-1 Entered on FLSD Docket 12/21/2018 Page 400 of
                                      400




                                         St. Louis - Plaintiff's Expert - GCI Consultants, LLC's File - 000374
